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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JAMES ZOLLICOFFER and NORMAN                 )
GREEN, on behalf of themselves and similarly )
situated laborers,                           )
                                             )
               Plaintiffs,                   )
                                             )                  No. 13 C 1524
        v.                                   )
                                             )                  Judge Sara L. Ellis
GOLD STANDARD BAKING, INC.,                  )
PERSONNEL STAFFING GROUP, LLC d/b/a )
MOST VALUABLE PERSONNEL d/b/a MVP, )
                                             )
               Defendants.                   )

                                      OPINION AND ORDER

        Plaintiffs Norman Green and James Zollicoffer, 1 individually and on behalf of other

similarly situated job applicants, believing that Defendants Gold Standard Baking, Inc. (“GSB”)

and Personnel Staffing Group, LLC, doing business as Most Valuable Personnel (“MVP”),

systematically steered African Americans away from work assignments at GSB because GSB did

not want African American workers bring this putative class action alleging race discrimination

in violation of 42 U.S.C. § 1981. Plaintiffs now move to certify a class of African Americans

who sought, but were largely denied, referrals to GSB as a result of Defendants’ allegedly

discriminatory policies. Plaintiffs move to certify the class under Federal Rule of Civil




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  Antwoin Hunt, a class representative since August 9, 2017, asked to withdraw as a named Plaintiff on
December 21, 2019, well after the parties had submitted their briefs regarding Plaintiffs’ motion for
certification. The Court includes background information from Hunt as relevant to disposition of this
motion, but it does not address any arguments concerning whether Hunt makes an adequate class
representative.
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Procedure 23(b)(3). Defendants oppose class certification and move to strike the testimony of

Plaintiffs’ expert Dr. Marc Bendick. 2

         Because the Court finds that Dr. Bendick’s report satisfies the criteria for admissibility

under Daubert and Rule 702, the Court denies Defendants’ motion to strike Dr. Bendick’s

testimony. Additionally, the Court finds that Plaintiffs have carried their burden under Rule 23

to show that certification is appropriate and grants the motion for class certification.

                                           BACKGROUND

I.       Background on MVP and GSB

         MVP, headquartered in Deerfield, Illinois, is a staffing agency that places employees in

temporary positions with a variety of employers across the United States, including around the

Chicago metropolitan area. MVP operated a branch office at 5637 W. Roosevelt Road, Cicero,

Illinois (“Cicero office”), until December 2015. Thereafter, MVP sold the office to Elite

Staffing. Under MVP’s management, the Cicero office had approximately forty to forty-five

client companies. The office staff included a manager, approximately six dispatchers who were

responsible for managing payroll, recruitment, hiring, and assigning laborers, as well as van

drivers, who transported workers and helped with recruitment. The manager, who oversaw the

office’s day-to-day operations, reported to MVP’s president, Elijah Wilde, and Vice President of

Operations, Darron Grottolo.

         GSB is an industrial baking facility specializing in croissants and Danish pastries and

located at 3700 Kedzie Avenue, Chicago, Illinois. GSB operates 24 hours a day, seven days a


2
  After Hunt withdrew as a named Plaintiff in this case, the parties completed Hunt’s deposition in
connection with another case pending in this District and filed supplemental briefing with respect to the
adequacy of the class representatives and counsel in this case. This Opinion incorporates the arguments
raised in the supplemental briefing. The National Employment Law Project also filed an amicus brief in
support of Plaintiffs’ motion for class certification, which the Court considered over Defendants’
objection.

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week, on three different shifts and relies in part on temporary laborers to maintain its workforce.

From 2009 to 2015 (the “Class Period”), GSB contracted exclusively with MVP to supply

temporary laborers. The contract provided that MVP employed laborers as temporary workers

“for Client’s benefit,” paid laborers their wages, and maintained personnel and payroll records.

Doc. 754 at 2. The contract also stated that GSB was responsible for supervising temporary

laborers, and that “during the period Temporary Workers are performing services for Client, the

duties and conduct of said Temporary Workers shall be wholly subject to the operational control

and direction of Client, and, therefore, said Temporary Workers shall become the borrowed

servants of Client for said period.” Id. at 4.

          MVP supplied workers to GSB for approximately ten different types of minimum-wage

positions: packer, sanitation, curler, mixer, lamination, oven, cake sorter, pan feeder, icing

aligner, and break/lunch person. While GSB preferred workers with experience, some of the

assignments did not require any specific training or qualifications and MVP could fill these

positions on a daily basis, also called “Dailies.” Doc. 700-2 at 61–62. 3 Other assignments,

including the mixer, curler, cake sorter, and icing aligner positions, required some on-the-job

training. MVP could not fill these positions on a daily basis and MVP provided workers hired in

“temp to hire” positions that could potentially lead to full-time employment. Id. at 62.

          MVP relied on the same pool of laborers to fill both daily and temp to hire assignments.

None of the positions required a criminal background check. The only requirement for all

workers was to attend an orientation session at the Cicero office where laborers received

instruction on GSB’s “Good Manufacturing Practices” or “GMPs.” Doc. 700-2 at 57, 64; Doc.

750 at 2. The GMPs prohibited laborers from wearing nail polish, jewelry, or earrings and

required laborers to cover tattoos and wear a hairnet.
3
    This Opinion cites to the ECF header on documents rather than the original page number.

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       GSB’s demand for laborers fluctuated day by day and week by week. Sometimes, there

were no or very few open positions that needed filling. Other times GSB relied on MVP to

provide more than a hundred laborers a day, sometimes requesting extra workers within twenty

to thirty minutes. At times, GSB only needed workers for certain shifts that were difficult to fill,

such as third shifts or weekend shifts. MVP employed a variety of tactics to meet GSB’s needs.

MVP stationed managers and supervisors, referred to as “Onsites,” at GSB. Doc. 700-1 at 50.

These employees took orders for laborers directly from GSB supervisors and personally recruited

laborers through a variety of methods. The on-site supervisors kept notebooks with lists of

workers they could call. They also worked hand-in-hand with dispatchers, who interfaced with

walk-ins at MVP’s Cicero office, and van drivers who went into neighborhoods to recruit

laborers. MVP purchased advertisements in both English and Spanish in Spanish-language

newspapers on an as-needed basis. MVP also gave flyers to dispatchers and van drivers to

distribute near the Cicero office, close to the bakery, or in the neighborhoods where they lived.

       Dispatchers did not refer individuals whom they thought might be affiliated with a gang.

Although there was no formal training regarding how to identify gang affiliation, management

instructed dispatchers to look at the candidates’ behavior and appearance, the candidates’

reaction when dispatchers told them about the requirements for work assignments, “whether their

pants [were] hanging,” and whether the candidate looked like he or she wanted to work.

Doc. 700-2 at 63.

       Additionally, GSB was not supposed to employ the same laborer for longer than ninety

days unless GSB elected to hire that laborer for a permanent position. If GSB did not want a

certain laborer to return, it could mark the individual as “Do Not Return” or “DNR.” Id. at 66–

67.



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II.    Discriminatory Policy

       On February 27, 2013, Brian Lucas, Aronzo Davis, and Torrence Vaughans filed this

putative class action against Defendants, alleging that MVP had a policy or practice of steering

African Americans away from work assignments at GSB. None of the original plaintiffs remain

in the case, and in their stead Green and Zollicoffer now act as class representatives on behalf of

all African Americans who were allegedly denied work at GSB as a result of Defendants’

discriminatory hiring policy. Plaintiffs offer the affidavits of several former MVP employees,

summarized below, in support of their motion for certification. These employees testified that

MVP’s discriminatory policy was “common knowledge,” Doc. 701-1 at 136, that management

imposed it in a top-down manner, and that MVP’s client, GSB, was the motivating force behind

the policy. Plaintiffs also testified about their own experiences as job seekers at the Cicero office

and how they witnessed MVP dispatchers giving preferential treatment to Latinos over African

Americans. Finally, Plaintiffs offer the testimony of their expert witness, Dr. Marc Bendick,

who concluded that there were substantial shortfalls in the number of African Americans hired

during nearly the entire Class Period.

       A.      Maria Carretero

       Maria Carretero worked at GSB from June 1999 until July 2014. She worked as a packer

until September 2009 when GSB promoted her to third shift supervisor. As a supervisor,

Carretero was responsible for overseeing employees of GSB as well as temporary laborers from

MVP. Carretero testified that since she started as a supervisor, GSB had a strong preference for

Latinos and “[i]t was common knowledge that GSB did not want to have African Americans at

the factory.” Doc. 700-1 at 136. Prior to 2013, Carretero testified that there were almost no

African Americans at GSB as either employees or as temporary laborers, and that as far as she



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knew, “there was only one African American mechanic employed directly by GSB.” Id. When

MVP sent African Americans to fill temporary positions, GSB management would instruct on-

site supervisors to DNR them. At some point in 2013, GSB began allowing African Americans

to work as Dailies, but still did not want them to work as regular laborers.

       Carretero testified to an incident involving Alejandro “Alex” Salgado—GSB’s plant

manager—in January 2014, when one of the production lines she was supervising became

backed up. When Salgado inquired about the cause of the delay, Carretero explained that not

everyone knew how to do their job. Although most of the workers on the line were Latinos, and

there were a few African Americans, Salgado yelled “Quitan esos negros” (“get rid of those

black people”). Id. At the end of the shift, GSB allowed all of the Latino workers to return,

while marking all of the African Americans DNR.

       Carretero also heard other GSB supervisors make derogatory remarks about African

Americans. One supervisor referred to African Americans as “niggers” and stated that they were

lazy and worthless. Id. Another referred to African Americans as “lazy, good-for-nothing

‘negros.’” Id.

       B.        Rosa Ceja

       Rosa Ceja began working for MVP in March 2014. MVP employed her as both an on-

site supervisor at one of MVP’s clients in Waukegan, Illinois, and as a dispatcher at various

branch offices, including ones in Waukegan, Elmwood Park, and Niles, Illinois. Ceja testified

that MVP accommodated clients who preferred Latino laborers over African Americans. She

believed many of MVP’s clients preferred Latinos because they were “less likely to complain

about things like being injured on the job or being underpaid.” Id. at 153. She described being

“yelled at by representatives of client companies” for assigning them African Americans. She



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also testified that David Barnett, one of MVP’s owners, warned her not to assign African

Americans to certain clients “because MVP could lose the account.” Id.

       Ceja testified that when the Cicero office needed more laborers to fill positions,

dispatchers would call the Elmwood Park office to request laborers, and vice-versa. This

happened on almost a daily basis. When the Cicero office was trying to fill spots at GSB, GSB

only wanted Latinos. Once, Grottolo called the Elmwood Park office and asked Ceja if MVP

had “los que escuchan a La Ley,” or “a La Que Buena,” i.e. laborers who listened to the Spanish-

language radio stations La Ley or La Que Buena, which Ceja understood to mean Latinos. MVP

told dispatchers to use the terms bilingues (bilinguals) for Latino workers, and no bilingues (not

bilingual), guapos (handsome ones), or morenas (dark ones) for African Americans. MVP

management instructed her and other dispatchers to exclusively use code words to refer to a

person’s race and informed them that they could be fired for using terms like African American,

Black, Hispanic, or Latino.

       C.      Daisy Corral

       Daisy Corral worked as an on-site supervisor at MVP beginning in July 2014 and stayed

with the office after its sale to Elite Staffing until June 2016. Corral testified that MVP

occasionally assigned African Americans to GSB but that they were typically given daily

assignments, rather than regular schedules that went to Latinos. In addition to being assigned

weekend shifts, which relieved GSB of paying regular laborers overtime, African Americans

often received assignments to “the worst jobs.” Doc. 700-1 at 52. For example, African

Americans were “disproportionately assigned to work in Danish Production or the oven room,

where laborers are required to work in excessive and constant heat.” Id.




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       Several GSB supervisors told Corral not to assign African Americans to their

departments and complained if she did. When Corral sent her supervisor, Janet Rostro, an email

suggesting that they rotate African Americans assigned to Danish production to other positions,

“[n]othing happened.” Id.

       In the early fall of 2015, Rostro called a meeting for all on-site supervisors at GSB and

indicated that GSB had instructed her to stop assigning African Americans. Rostro told the

supervisors to advise African American laborers that GSB had a hiring freeze. Rostro also

instructed supervisors not to advise African Americans about the mandatory orientation for

people who wished to work at GSB. When the on-site supervisors complained and told Rostro

that the new policy was illegal, she responded that this was what the customer wanted. The

number of African American assigned to GSB subsequently declined. Corral described that

MVP, and later Elite Staffing, maintained an Excel file titled “Employee Hours by Labor

Account,” that showed the number of hours worked per laborer assigned to GSB. Id. at 53. The

number of hours worked by non-Latinos declined “dramatically” after the meeting. Id. In

March 2016, Rostro told supervisors they could start bringing back African Americans laborers,

but Corral testified there were still proportionately less African American workers.

       D.      Lissette Robles

       Lisette Robles worked at MVP as a manager of the Cicero office from April 2011 until

November 2013. The manager of the Cicero office handled “all marketing and advertising for

employees on an as-needed basis.” Doc. 700-1 at 2. During her time at the Cicero office, MVP

primarily advertised, in both English and Spanish, in HOY, a Spanish-language newspaper.

MVP would also distribute flyers on an as-needed basis, approximately half of which were in

English and half in Spanish.



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       E.     Pamela Sanchez

       Pamela Sanchez worked for MVP as an on-site supervisor stationed at GSB from

November 2013 to May 2014, and as a dispatcher at MVP’s Cicero office from June 2014 until

February 2015. While working as an on-site supervisor, Sanchez testified that GSB staff for

every department told her that they did not want African Americans and preferred Latino

laborers. Id. at 142. This included Salgado, who said “he wanted only Hispanic laborers” and

“told [her] directly not to assign African Americans to work at GSB because they were lazy, they

were trouble makers and their job performance is poor.” Id. at 141.

       Sanchez used many ways to fill positions according to GSB’s preferences. Prior to her

shift, MVP dispatchers would send her a list of prospective laborers. When Sanchez received the

list, she would advise the dispatcher to cancel laborers with non-Hispanic names because she

knew that GSB would reject them. Sanchez testified that MVP rarely assigned African

Americans to GSB, and that if they did it was usually only on weekends—so that GSB could

avoid paying its normal laborers overtime—or to third shifts which were harder to fill. On the

rare occasion that Sanchez saw African Americans assigned to the third shift, GSB employees

told her to DNR those workers.

       Sanchez also personally recruited laborers in person or over the phone. Sanchez kept a

list of laborers in a notebook whom she could call. Sanchez kept a person’s contact information

if they had previously completed a work assignment, or if they called the MVP office phone at

GSB. Because of GSB’s preference for Latinos, Sanchez only kept the names of Latino laborers

based on their last name. Other on-site supervisors also kept notebooks and similarly kept the

names and contact information for Latino laborers only.




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       Sanchez would also work with MVP van drivers, who generally went to predominantly

Latino neighborhoods in Chicago, such as Little Village, to recruit workers. MVP also handed

out flyers in Latino neighborhoods advertising work at a Chicago bakery. Sanchez testified these

flyers were in Spanish and she never saw one in English.

       Sanchez testified that in January 2014, there was a meeting with the on-site supervisors,

dispatchers, and van drivers at the Cicero office after Salgado sent an email to MVP management

complaining about unfulfilled job orders. Sanchez, as well as other supervisors and dispatchers,

complained that they could not assign African Americans because GSB would DNR them.

Barnett and Grottolo, who were both present at the meeting, indicated they would talk to the

owner of GSB and Salgado about accepting workers regardless of their race. Sanchez testified

that GSB supervisors continued to tell on-site supervisors to DNR African Americans after the

meeting.

       After Sanchez began working as a dispatcher, other dispatchers trained her to use two

different methods to deal with walk-ins depending on whether they were African American or

Latino. Dispatchers advised African Americans that they could only give them an application if

there was a job opening and that they could come back at 4:00 a.m. to see if there was any work.

Sanchez would sometimes assign African Americans to difficult or unpopular jobs, such as those

that required long shifts, or those that involved working in freezing temperatures, also known as

“cold sites.” Id. at 145. For Latinos, by contrast, Sanchez and other dispatchers would

immediately give them an application and put them on a work ticket or call clients to see if there

were positions available.

       Sanchez also testified regarding an incident with a particular worker named Kevin James.

James, who is African American, completed an application at the Cicero office on October 15,



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2014. Sanchez advised James that he could return the next morning to be assigned to one of two

client companies, one of which was GSB. Sanchez sent a closing email to first-shift dispatchers

confirming that James was scheduled to work the next morning. When James returned to the

Cicero office, he waited from 4 a.m. until 9 a.m. but dispatchers never gave him an assignment.

Morning dispatchers claimed that James never appeared, although Sanchez knew this to be false.

When James returned that afternoon to complain to Sanchez, Sanchez pursued the issue with the

Cicero office manager. The manager told Sanchez that she should not confirm African

Americans for work and should instead tell them to come back in the morning to see if there

were openings.

        During the pendency of this case, Defendants alleged that Sanchez committed perjury,

fabricated evidence at the direction of Plaintiffs’ counsel, and violated a confidentiality

agreement with MVP. The Court found that Defendants’ allegations were appropriate to present

to the trier of fact rather than the Court. A detailed description of the facts is set out in the

January 16, 2019, Memorandum Report and Recommendation, Doc. 680, which the Court

adopted on February 27, 2019.

        F.      Alex Salgado

        On June 17, 2014, Salgado wrote the following e-mail to GSB president Yianny Caparos

and CFO Mark Grosshans:

                I’m typing this email with a huge level of frustration, we have been
                having a lot of issues with MVP now we are having problems no
                matter what shift/day it’s just crazy, I just came from lines 1 and 2
                packaging and the people they brought for clamshells are just
                standing, sleeping one of them with a watch on his hand and I
                called the lead upstairs to join me there and she was telling me that
                she is [sic] been getting all kinds of people that she knew those
                will not work but is what she gets from MVP main office [sic]. I
                spoke to Janet and she just told me that she will call the office,
                yesterday I ask Louis and Janet for a meeting regarding the

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                weekend mess. . . . (we have been having the house full with Afro-
                American people) and just not been working [sic].

Doc. 700-3 at 17. Salgado also suggested that GSB work with a different staffing agency.

Caparos responded that he would participate in discussions when he returned the following

Thursday and that Salgado “need[ed] to hold Louis accountable.” Id. Approximately two weeks

later, on June 30, 2014, GSB issued Salgado a disciplinary letter, stating that his email had

violated the company’s affirmative action and anti-discrimination policies. GSB required

Salgado to attend a training session and noted that it was the company’s policy to provide equal

employment opportunities to all qualified individuals regardless of their race or color.

         G.     Norman Green

         Green first sought work at the Cicero office on October 10, 2013. 4 On his first day, he

completed an application and put down two phone numbers: one for his cell phone and one for a

family member. Green asked to work immediately, and staff instructed him to place his name on

the sign-in sheet. Green understood that MVP provided work assignments on a first-come, first-

served basis and waited for approximately four hours for his name to be called. When he did not

receive an assignment, the office staff instructed him to come back at 8 a.m. the next day. When

Green returned the next day, he again waited for several hours without an assignment. This

happened on several occasions, during which Green noticed that Latino workers would arrive

after him, receive IDs, and receive work assignments before him, or that vans carrying Latino

laborers would arrive and MVP sent those laborers to work immediately after they signed in.

         Green visited the Cicero office approximately ten to fifteen times in 2014 but only

received a few work assignments, none of which were to GSB. At his first assignment, to a meat

packing factory, the company released Green after six hours into what was supposed to be an
4
 On November 22, 2014, Green signed a declaration in which he erroneously stated that he first sought
work at MVP beginning in July 2014.

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eight-hour shift. At what was supposed to be his second assignment to a chocolate factory,

Green waited several hours before being told he had the incorrect type of boots even though an

MVP dispatcher had already approved his boots. At his third assignment, Green borrowed bus

fare to get to work after MVP’s dispatcher promised him a ride home from a job. When Green

was picked up from work close to 1 a.m., the driver dropped him off at a train station that had no

trains running for several hours. The next day MVP called to ask if he wanted to go back. Green

refused but said he was willing to work if they had a different assignment for him. He never

received another assignment.

       On January 5, 2017, the parties deposed Green as a part of this case. Green testified there

were “lots of months” in 2013 when he did not have a working cell phone. Doc. 711-14 at 2.

Green relied in part on prepaid phones, and when he had enough money to pay for a phone it was

often easier to purchase a new one rather than place more money on his old phone. The new

phone, in that case, would also have a new number. Green also testified that he met with his

attorney “plenty of times” before he became a named Plaintiff in the case. Id. at 14. When

asked about his allegations against GSB, Green testified that he knew “nothing about no bakery,”

and that he was not aware that he was suing GSB. Id. at 12.

       H.      James Zollicoffer

       Zollicoffer first sought work in 2007 at MVP’s branch office in Prospect Heights,

Illinois, where he received regular assignments for several months. When Zollicoffer moved to

Chicago around the summer of 2009, the Prospect Heights dispatcher directed him to the Cicero

office. When he first visited the Cicero office, Zollicoffer signed in, completed an application,

and waited several hours without receiving an assignment. Zollicoffer returned several times

over the course of about two weeks, sometimes arriving at around 4 or 4:30 a.m. and waiting for



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an hour and a half to two hours. On one occasion he was approximately the tenth or eleventh

person to sign in. MVP staff told Zollicoffer that they would call him or instructed him to check

back to see if there were openings. Zollicoffer, however, observed that MVP consistently

assigned work to Latino laborers but not to African Americans. Zollicoffer also called the office

three to four times a week for approximately another month to inquire about work. He never

received an assignment.

       During Zollicoffer’s February 2, 2018 deposition, he testified that he could not recall how

many times he visited MVP in 2009, or whether he sought work at MVP in 2010, 2011, or 2015.

Zollicoffer thought that he did not seek work at MVP in 2012 or 2013 because he was working

elsewhere at the time. Zollicoffer also testified that he held a number of different jobs

throughout the Class Period. Throughout 2012, for example, he worked for the staffing agencies

Labor Solutions and Labor Temps, and in 2012 and 2013, he worked at the Georgia Nut

company through MVP’s Prospect Heights office. When Zollicoffer had consistent work

elsewhere, he did not seek work at the Cicero office.

       Zollicoffer testified that he pleaded guilty to several crimes in his life, including armed

robbery in 1986, controlled substance crimes in 1997 and 1998, possession of a stolen vehicle in

1999, aggravated fleeing police in 2007, theft in 2008, and misdemeanor domestic battery in

2011. In 2011, Zollicoffer was incarcerated for approximately forty-five days. Zollicoffer

thought that he may have been incarcerated in 2014 as well.

       Counsel for Defendants also asked Zollicoffer whether he knew what it meant to be a

class representative and what his role as a plaintiff entailed, to which Zollicoffer answered:

“No.” Doc. 713-5 at 3. Counsel also asked Zollicoffer regarding his claims against GSB:

               Q: Are you claiming that GSB discriminated – what are you
               claiming GSB discriminated against you?

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               A: If it’s through the company, I never said GSB. I said MVP.
               Q: Okay.
               A: You’re saying GSB. I never said GSB out of my mouth I don’t
               recall saying it if I did. I’m saying the company that sent me there.
               Q: Okay. Are you claiming that GSB, Gold Standard Baking,
               discriminated against you based on race?
               A: Am I claiming that? No, I’m not claiming it.
               ...
               Q: And other than that eavesdropping on that conversation you
               mentioned with Mr. Richardson, you don’t have any basis for
               saying that GSB discriminated against African Americans, right?
               A: None whatsoever.

Doc. 758 at 186–88.

       I.      Antwoin Hunt

       Hunt, who withdrew as a named Plaintiff in December 2019, first began working for

MVP beginning in the mid-2000s. In 2010, he completed a new application and sought work

several times from 2010 to 2013, sometimes arriving at 4:00 or 4:30 a.m. before the doors

opened. He consistently saw Latino laborers assigned work before African-Americans, even

when they arrived late, just before assignees were sent out. Hunt received work assignments

during this time period, but none were to GSB. Then, in August 2014, Hunt received his first

assignment to GSB working overnights. During his time at GSB, Hunt noticed that most of the

workers were Latino, and that all of the work schedules, signs, and instructions were entirely in

Spanish. During his training, GSB also played a video in Spanish with English subtitles. A few

months after his first assignment, GSB offered him a position as a regular temporary worker.

Hunt had regular issues with one his supervisors, Guadalupe Garcia. She would, for example,

give him his breaks in quick succession at the beginning of his shift instead of spacing them out

as she did for the Latino laborers. Even though Hunt worked more than ninety days at GSB, the

bakery never offered him a permanent position. In February 2015, Hunt showed up to work at

his usual time when, without any warning, GSB staff did not allow him into the building. GSB

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marked him as DNR for poor performance. MVP placed Hunt at another client shortly thereafter

but continued to drop him from the list of regular workers assigned to the client and failed to pay

him the hourly wage he was promised.

       On February 8, 2017 and February 19, 2018, the parties deposed Hunt as part of this case.

In the second deposition, Defendants’ counsel asked Hunt whether he had appeared as a witness

or as a plaintiff against Defendants when he testified in the first deposition. Hunt replied: “I

wasn’t suing anyone. I was, I was here on a deposition because I felt that I was mistreated, so I

hired my attorney right here, Chris, and the deposition came behind this.” Doc. 711-10 at 2.

Counsel also asked Hunt about a previous employment application in which he put down

“seasonal temp to hire” as the reason he stopped working at his previous employer. When

counsel asked Hunt why he put this down, he replied: “I’m filling blanks out so I don’t leave [a]

line short. People lie on applications all the time.” Id. at 6. Hunt also admitted that at times, he

would “stretch the truth.” Id. at 8.

       During the pendency of this case, the Court sanctioned Hunt for failing to disclose certain

facts and documents during discovery. The May 29, 2018, Memorandum Report and

Recommendation, Doc. 592, which the Court adopted on June 28, 2018, Doc. 595, sets forth a

detailed description of the facts related to the sanctions. In connection with the sanctions order,

Judge Kim ordered Hunt to personally pay $1,976, in addition to costs and reasonable attorneys’

fees incurred in connection with his continued deposition, by January 7, 2019. Docs. 654–55.

       In addition to this case, Hunt also served as a named Plaintiff in two other matters, Hunt

v. Personnel Staffing Group, LLC, No. 16 C 11086 (N.D. Ill.), and Lucas v. Vee Pak, Inc., No. 12

C 9672 (N.D. Ill.). Hunt left his December 20, 2019 deposition in Vee Pak during the lunch

break and did not return. That deposition also revealed that Hunt had failed to disclose certain



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prior litigation in which he had been involved. The following day, Plaintiffs in this case filed a

motion to withdraw Hunt’s appearance as a Named Plaintiff, explaining that he had moved to

Texas and that the obligations of being a Named Plaintiff in all three cases had proved

overwhelming. The Court granted the withdrawal request on January 7, 2020. Subsequently,

Defendants in this case moved to reopen discovery to further investigate issues that arose during

Hunt’s December 20, 2019 deposition. Hunt sat for a continued deposition on February 16,

2020.

        Of note during the December 20 and February 16 depositions, Hunt acknowledged not

having much involvement in or understanding of this case. He suggested he had not had much

interaction with his counsel. Hunt also testified that he had become involved in this case through

Richard, whom Hunt thought may have been part of a workers advocacy group. Counsel for

Defendants also asked Hunt about a cell phone he used during the relevant time period, from

which Plaintiffs only disclosed a video Hunt took while working at GSB. Hunt indicated other

potentially relevant information could be on that phone but that he did not know where it was.

After the deposition, counsel for Plaintiffs represent that Hunt informed them it is in a storage

unit under his control. Finally, the continued deposition revealed that one of the attorneys for

Plaintiffs in this case, Christopher Williams, paid the entirety of the monetary sanction imposed

on Hunt, with Williams and Hunt having an agreement for Hunt to repay the sanctions out of

either settlement or personal funds. Hunt testified that he has only paid Williams $200, while

Williams’ ledger reflects two payments in the amounts of $200 and $150.




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III.    Expert Witness

        A.     Discovery Disputes Related to MVP Records

        During discovery, Plaintiffs sought records from Defendants documenting the laborers

who sought work at MVP and which laborers MVP assigned to GSB. This included the sign-in

sheets that laborers used at the Cicero office. Plaintiffs intended to analyze the sign-in sheets to

determine the number of African Americans who sought work at MVP, as well as the order in

which people checked in—data that Plaintiffs could compare to the number of African

Americans MVP actually assigned to GSB. In response, MVP indicated that it “had no policy or

practice with respect to the use or maintenance of . . . sign-in sheets” and it “has not determined

and/or collected information on the race or ethnicity of its applicants and employees.” Doc. 644-

1 at 26, 34.

        Plaintiffs consulted with Dr. Marc Bendick, a labor economist, and determined they

could analyze the racial makeup of MVP job applicants and referrals using laborers’ addresses.

They would do this in two ways. First, because MVP referred people to short-term, low-paid

positions, it is typically not cost-effective for laborers to relocate or commute long distances for

jobs. Thus, “the home addresses of laborers registered at the MVP Cicero office are expected to

fall within a limited geographical area surrounding that office.” Doc. 601-8 ¶ 11. This area,

called the “reasonable recruitment area,” Doc. 644-1 ¶ 10, could be used to estimate the expected

representation of African Americans among those who sought work at MVP based on data from

the US Census Bureau. Second, Plaintiffs could utilize a technique called geocoding to estimate

the number of African Americans MVP actually referred to GSB. This involved converting

home addresses to coordinates on a map, and then using Census Bureau data to calculate the

probability that the individuals living at each address is of a certain race.



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         Plaintiffs subsequently sought records of the names and addresses of Cicero office job

applicants and referrals to GSB. Initially, MVP indicated it was too burdensome to produce a list

of job applicants restricted to the Class Period because of how it structured its database. The

parties eventually came to an agreement, with the Court’s approval, to resolve Plaintiffs’

discovery request. MVP agreed to produce two lists: the first would include the name, address,

and MVP ID number for laborers MVP assigned out of the Cicero office from when it opened in

2000 until September 1, 2014 (the “Master Address List”). The second list would include the

names of laborers the Cicero office paid during the Class Period (“Class Period Assignment

List”). The parties agreed that Plaintiffs’ counsel would winnow down the first list by

eliminating employees who were not also on the second list. The result would be a list with the

pertinent information that Plaintiffs had requested, including the names and addresses of laborers

who received work assignments from the Cicero office during the Class Period. Plaintiffs agreed

they would return copies of the original, unfiltered Master Address List after they culled it.

         Pursuant to this agreement, MVP produced the two Excel files to Plaintiffs. The Master

Address List contained 64,142 rows of information, sometimes with multiple rows for a single

employee, as well multiple addresses separated by commas under the same column, i.e. in

comma-separated values (“CSV”) format. 5 The second list contained the names of employees

MVP paid—and therefore assigned work—during the Class Period. Plaintiffs’ counsel merged

the two lists, removing employees from the Master Address List who were not on the Class

Period Assignment List. The result was a list of 18,191 Cicero office referrals during the Class

Period with corresponding home addresses (“List of 18,191 Referrals”).




5
 As addressed further below in the Analysis, Plaintiffs dispute that the Master Address List was in CSV
format.

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         On October 7, 2014, Plaintiffs sent the List of 18,191 Referrals to Defendants and asked

Defendants’ counsel to review and confirm that the list accurately reflected the individuals to

whom MVP assigned work from the Cicero office during the Class Period. Defendants did not

follow up to verify or challenge the list’s accuracy. 6 Consequently, Plaintiffs’ counsel provided

the List of 18,191 Referrals to Dr. Bendick and represented that this was an accurate list of the

employees assigned out of the Cicero office during the Class Period, and that Dr. Bendick could

rely on it for his analysis. Later, on November 14, 2017, MVP produced two additional files to

Plaintiffs. The first contained updated address information for all laborers MVP referred out of

the Cicero office categorized by year, from 2009 to 2015 (the “Yearly Cicero Address Files”).

The second contained the work hours for each laborer assigned to GSB also categorized by year

(“Yearly GSB Hours Files”).

         B.     Dr. Bendick’s Analysis

         The first step in Dr. Bendick’s analysis required identifying MVP’s reasonable

recruitment area. With the help of an assistant, William Glimpse, Dr. Bendick located each

address from the List of 18,191 Referrals within a geographic zone called a Public Use

Microdata Area (a “PUMA”). 7 PUMAs are geographically contiguous areas encompassing at


6
  Plaintiffs state that Defendants “refused [to] engage in a discussion” about the List of 18,191 Referrals
and whether it could be used as a common data base on which both parties could rely. Doc. 644-1 ¶ 27.
Defendants argue that this characterization is misleading, and counter that Plaintiffs’ counsel never
explained how they compiled the list. But Defendants do not refute that Plaintiffs’ counsel sent
Defendants an email on October 7, 2014, with the list of 18,191 Referrals attached, and specifically asked
MVP’s counsel to review and confirm that the list was accurate. Plaintiffs’ counsel sent a follow-up
email on January 15, 2015, indicating that they had not heard back from Defendants regarding the
request. Further, Defendants concede that “MVP would not and did not stipulate to a common database
of any sort.” Doc. 652 at 8.
7
 This is technically what “geocoding” refers to: converting an address into latitudinal and longitudinal
coordinates. Usually, this is to infer certain information about the people living at the address using
Census Bureau information. See Kevin Fiscella & Allen M. Fremont, Use of Geocoding and Surname
Analysis to Estimate Race and Ethnicity, Health Serv. Res. 41, 1482–1500 (Aug. 2006). In this case, the
Court utilizes the term geocoding as it relates to converting an address into coordinates and then linking

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least 100,000 residents according to the decennial census. They are the smallest geographic

zones for which the Census Bureau’s American Community Survey (“ACS”) releases data

relevant to calculating the racial and ethnic characteristics of MVP job seekers. Dr. Bendick

located the addresses within PUMAs for both the 2000 and 2010 Census. He then listed the

PUMAs from largest to smallest according to the number of addresses located within the area

and identified the largest PUMAs that accounted for 95% of potential laborers. This came out to

nineteen PUMAs from the 2000 census and eighteen from the 2010 census that Dr. Bendick

defined as the reasonable recruitment area.

         Second, Dr. Bendick counted the persons residing within the reasonable recruitment area

who were likely to be qualified, available, and interested in MVP work referrals according the

ACS. This included people who 1) were in the civilian work force, i.e. working or actively

looking for work; 2) had no, little, or some education up through post-secondary school, but not

people with college or graduate degrees; and 3) earned less than the median annual earnings in

the Chicago metropolitan area. From 2009 to 2011, across PUMAs defined by the 2000 census,

26.8% of potential MVP job seekers were non-Hispanic African American (“NHAA”). From

2012 to 2013, across PUMAs defined by the 2010 census, 33.5% of potential MVP job seekers

were NHAA. 8



this to Census Bureau data to calculate the probability that the person living at the address is of a certain
race. Id.
8
  Dr. Bendick’s methodology here is a little unclear. The Census Bureau updates the ACS annually and
releases statistical information in five-year data sets. The 2013 ACS data, for instance, was compiled
according to data the Census Bureau collected from 2009 to 2013. At the time that Dr. Bendick
calculated the reasonable recruitment area, this was the most recent ACS data available, and Dr. Bendick
states that he solely used the 2013 data set for steps one and two. To the Court’s understanding, the ACS
only released data for 2009 to 2013 according to 2010 PUMAs. Only five-year data sets concluding in
2011 or earlier utilized the 2000 census PUMAs. Thus, if Dr. Bendick utilized ACS data for PUMAs
defined by the 2000 census, it seems he would have needed to utilize the 2010 or 2011 ACS, which
collected data going back to 2006 and 2007 respectively.

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         Third, Dr. Bendick combined the data for all five years, using the weighted average of the

26.8% and 33.5% figures. Dr. Bendick concluded that 29.5% of MVP job seekers from 2009 to

2013, determined according to MVP’s reasonable recruitment area, were expected to be NHAA.

This figure included two PUMAs from the 2000 Census and one PUMA from the 2010 Census

that were not contiguous with the other PUMAs and that Dr. Bendick considered to be outliers.

Excluding these PUMAs yielded a slightly higher expected representation figure of 30.6%,

which Dr. Bendick considered a reasonable alternative expected representation figure.

         Fourth, Dr. Bendick “consider[ed] the overall conservatism of the estimated availability.”

Doc. 701-1 at 74. Dr. Bendick considered his estimated expected representation figure to be

conservative because 1) it excluded African Americans of Hispanic origin and 2) it included the

outlier PUMAs that lowered the expected representation figure.

         After estimating the expected availability of African Americans, Dr. Bendick calculated

the estimated actual representation of NHAA among MVP referrals to GSB. To do this,

Dr. Bendick used geocoding, converting each address to latitude/longitude coordinates and then

linking the address to Census Bureau data about the neighborhood, specifically census blocks—

geographic areas encompassing approximately forty-eight residents each. Dr. Bendick could

then infer the probability a person referred to GSB was NHAA according to the proportion of

NHAA living within the block in which the laborer’s home was located.

         Dr. Bendick began his analysis with a list of 11,255 referrals to GSB during the Class

Period (“List of 11,255 Referrals”). Dr. Bendick compiled this list depending in part on the

Yearly GSB Hours Files. 9 Dr. Bendick computed a probability of being NHAA for



9
 Dr. Bendick testified that he compiled the List of 11,255 Referrals based on the Yearly GSB Hours Files
during his deposition. The Yearly GSB Hours Files, however, did not contain any addresses for referrals,
and Dr. Bendick could not explain from where he pulled the addresses.

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approximately 72.4% of the referrals. He then applied this probability figure to all referrals in

each year. Dr. Bendick estimated the actual representation of NHAA laborers as follows:

                    Year              Non-Hispanic African Americans among
                                      Persons Referred
                    2009              1.7%
                    2010              2.8%
                    2011              3.9%
                    2012              5.0%
                    2013              9.9.%
                    2014              28.2%
                    2015              33.9%

These figures, as well as the 29.5% estimated representation figure, form the principal

conclusions of Dr. Bendick’s analysis. Dr. Bendick reached four further conclusions: 1) there

were substantial shortfalls in NHAA representation among GSB referrals in every year from

2009 to 2014, but no shortfall in 2015; 2) these shortfalls, between 10.8 to 28.2 standard

deviations, were statistically significant; 3) these shortfalls corresponded to 216,975 work hours

between 2009 to 2014; and 4) the sharp increase in referrals in 2014 to 2015, following the

initiation of Plaintiffs’ lawsuit, confirmed his findings. The most relevant portions of Dr.

Bendick’s findings are summarized below.

                  Shortfall Analysis from Dr. Bendick’s Revised Declaration 10
Year           Expected NHAA         NHAA among            Shortfall in NHAA Standard
               Referrals             Persons Referred      Referrals               Deviations
                  %          #           %          #          %           #
2009           29.5%     91          1.7%       5          27.8%       86          10.7
2010           29.5%     251         2.8%       23         26.7%       228         17.1
2011           29.5%     391         3.9%       52         25.6%       339         20.4
2012           29.5%     803         5.0%       135        24.5%       667         28.1
2013           29.5%     464         9.9.%      156        19.6%       308         17.0
2014           29.5%     781         28.2%      748        1.3%        34          1.5
2015           29.5%     539         33.9%      618                    No shortfall
2009–2014      29.5%     2,781       11.9%      1,119      17.6%       1,662        37.5
Total

10
 Dr. Bendick’s Rebuttal Declaration contained figures slightly different than the figures in his Revised
Declaration. The Court reproduces what it believes to be the most accurate figures here.

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Dr. Bendick later produced a revised report (the “Revised Declaration”) on June 1, 2018, in

which he adjusted the estimated shortfall of work hours downward to 203,331 work hours.

        C.      Dr. Bendick’s Rebuttal Declaration

        Defendants consulted with Dr. Carole Amidon, an economist specializing in analyzing

labor economics, statistics, large databases and applied econometrics, to review Dr. Bendick’s

work. In their motion to strike Dr. Bendick’s opinion, Defendants attached a report by Dr.

Amidon criticizing several aspects of Dr. Bendick’s analysis. Dr. Bendick subsequently

submitted a rebuttal report, recalculating his estimates according to some of Dr. Amidon’s

critiques. 11 Dr. Bendick concluded that the adjusted analysis still yields statistically significant

shortfalls from 2009 to 2013.

                  Shortfall Analysis from Dr. Bendick’s Rebuttal Declaration
Year             Expected      NHAA among Persons       Shortfall in NHAA Standard
                 NHAA          Referred                 Referrals             Deviations
                 Referrals
2009             27.4%         3.9%                     23.5%                 9.3
2010             27.4%         5.3%                     22.1%                 14.5
2011             27.4%         6.4%                     21.0%                 17.2
2012             27.4%         7.4%                     20.0%                 22.4
2013             27.4%         13.2%                    14.2%                 12.6
2014             27.4%         34.6%                                  No shortfall
2015             27.4%         39.0%                                  No shortfall
2009–2013        27.4%         8.1% 12                  19.3%                 35.6
Total




11
   Dr. Bendick writes that he incorporated Dr. Amidon’s “suggested modifications” into his rebuttal
declaration. Doc. 714-6 at 3. Defendants and Dr. Amidon dispute this characterization and argue that her
critiques did not offer suggestions that would necessarily yield an accurate result.
12
   Presumably the average representation figure for NHAA among GSB referrals is lower in Dr.
Bendick’s rebuttal declaration than it was in Dr. Bendick’s original report because a larger number of
addresses were incorporated in the analysis, placing greater weight on the years with a shortfall.

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                                            ANALYSIS

I.     Motion to Strike Marc Bendick’s Expert and Rebuttal Reports

       Before considering the motion for certification, the Court considers Defendants’ motion

to strike Dr. Bendick’s expert reports. Defendants argue that the Court should strike Dr.

Bendick’s Revised Declaration because it is insufficiently reliable under the standards set forth

in Daubert and Federal Rule of Evidence 702. Defendants also argue that the Court should

strike Bendick’s rebuttal declaration for being procedurally and substantively improper.

       A.      Legal Standard

       “[W]hen an expert’s report or testimony is critical to class certification . . . a district court

must conclusively rule on any challenge to the expert’s qualifications or submissions prior to

ruling on a class certification motion.” Am. Honda Motor Co. v. Allen, 600 F.3d 813, 815–16

(7th Cir. 2010). Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals

Inc., 509 U.S. 579 (1993), govern the admissibility of expert evidence. See Bielskis v. Louisville

Ladder, Inc., 663 F.3d 887, 893 (7th Cir. 2011). Together, Rule 702 and Daubert provide that an

expert’s testimony is admissible if: 1) the witness is qualified, 2) the expert’s methodology is

reliable, and 3) the testimony will assist the trier of fact to understand the evidence or to

determine a fact in issue. Myers v. Ill. Cent. R.R. Co., 629 F.3d 639, 644 (7th Cir. 2010). The

Rule 702 inquiry “is a flexible one.” Daubert, 509 U.S. at 594. “Determinations on

admissibility should not supplant the adversarial process; ‘shaky’ expert testimony may be

admissible, assailable by its opponents through cross-examination.” Gayton v. McCoy, 593 F.3d

610, 616 (7th Cir. 2010). The proponent of the testimony bears the burden of proving that the

proffered testimony meets these requirements, and the Seventh Circuit grants the district court

“wide latitude in performing its gate-keeping function.” Bielskis, 663 F.3d at 894.



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       B.      Dr. Bendick’s Qualifications

        “Whether a witness is qualified as an expert can only be determined by comparing the

area in which the witness has superior knowledge, skill, experience, or education with the subject

matter of the witness’s testimony.” Gayton, 593 F.3d at 616 (quoting Carroll v. Otis Elevator

Co., 896 F.2d 210, 212 (7th Cir. 1990)). Defendants do not contest Dr. Bendick’s qualification

as an expert. He has served as an expert witness or consultant in more than 200 cases where he

has analyzed issues including the demographics of job-seekers, processes related to recruitment,

hiring, promotion, compensation and discipline of employees, as well as damages for workers

denied work opportunities. Dr. Bendick has authored 138 research papers, including articles in

peer-reviewed journals. Federal and state courts across the country have considered his

testimony as an expert in the field of labor economics. See, e.g., Hardie v. Nat’l Collegiate

Athletic Ass’n, 876 F.3d 312, 320–21 (9th Cir. 2017) (racial disparities in hiring); Houser v.

Pritzker, 28 F. Supp. 3d 222, 243 (S.D.N.Y. 2014) (racial disparities in hiring). Similar to these

cases, Dr. Bendick seeks to testify regarding racial disparities in MVP’s referrals to GSB. He is

qualified to do so.

       C.      Admissibility of Rebuttal Declaration

       Defendants bring two motions to strike. First, they ask the Court to disregard Dr.

Bendick’s rebuttal declaration that Plaintiffs submitted to defend the admissibility of Dr.

Bendick’s expert report. Defendants initially argue that it is an unsworn hearsay statement based

on 28 U.S.C. § 1746, which requires statements prepared outside of the United States to be

sworn “under the laws of the United States of America.” While Dr. Bendick’s original rebuttal

declaration did not comply with this requirement, he has since re-executed his rebuttal

declaration in accordance with the statute, so this issue is moot.



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         Second, Defendants argue that portions of the rebuttal declaration offer “wholly new

expert opinions” that are not admissible under Rule 26. Butler v. Sears Roebuck & Co. (“Butler

I”), No. 06 C 7023, 2010 WL 2697601, at *1 (N.D. Ill. July 7, 2010). Rule 26(a)(2)(D) requires

parties to disclose expert witness testimony “at the times and in the sequence that the court

orders.” A party may submit a rebuttal report “intended solely to contradict or rebut evidence on

the same subject identified by another party.” Fed. R. Civ. P. 26(a)(2)(D)(ii). Additionally, Rule

26(e) requires parties to supplement their disclosures if they learn that the initial disclosures were

materially “incomplete or incorrect.” However, “[a] rebuttal expert report ‘cannot be used to

advance new arguments or new evidence to support plaintiff’s expert’s initial opinions.’” Lowe

v. CVS Pharmacy, Inc., No. 14 C 3687, 2017 WL 2152385, at *2 (N.D. Ill. May 17, 2017)

(citation omitted). “The proper function of rebuttal evidence is to contradict, impeach or defuse

the impact of the evidence offered by an adverse party.” Peals v. Terre Haute Police Dep’t, 535

F.3d 621, 630 (7th Cir. 2008) (citation omitted); see also Stanfield v. Dart, No. 10 C 6569, 2013

WL 589222, at *3 (N.D. Ill. Feb. 14, 2013) (“A party may not offer testimony under the guise of

‘rebuttal’ only to provide additional support for his case in chief.” (citing Peals, 535 F.3d at

630)).

         The contested portions of Dr. Bendick’s rebuttal declaration, detailing his revised

calculations according to Dr. Amidon’s critiques, could arguably fall on either side of the case-

in-chief/rebuttal dichotomy. As Defendants point out, Dr. Bendick opined that his estimates in

the rebuttal declaration are less accurate than the estimates in the Revised Declaration. He

testified that they are nonetheless useful to “demonstrate how, if Dr. Amidon’s suggestions are

followed, they do or do not change the findings and conclusions” in his expert report. Doc. 714-

6 at 13. Thus, the Court primarily considers Dr. Bendick’s rebuttal declaration as an attempt to



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“defuse the impact” of Dr. Amidon’s critiques, Peals, 535 F.3d at 630, rather than as “wholly

new opinions” to bolster class certification, Butler I, 2010 WL 2697601, at *1.

       Defendants correctly note that “point[ing] out an ostensible flaw” in Bendick’s expert

analysis does not trigger a duty to correct the expert report under Rule 26(e). See Berkheimer v.

Hewlett-Packard Co., No. 12 C 9023, 2016 WL 3030170, at *5 (N.D. Ill. May 25, 2016) (“Rule

26(e) is not a back door that can be used to ‘supplement’ expert reports ad infinitum[.]”). But

Defendants’ reliance on Rule 26(e) is misplaced because it does not limit the Court’s ability to

consider supplemental disclosures in its discretion. Talbert v. City of Chicago, 236 F.R.D. 415,

421 (N.D. Ill. 2006) (“The Rule, by its plain terms, imposes duties on the parties; it does not

purport to limit a court’s discretion under Rule 26(a)(2)(C) to direct the ‘times and . . . the

sequence’ in which expert reports should be filed.”). “So long as [the supplemental disclosure]

does not entail some greater harm to the opponent of the report, sound discretion would seem to

counsel allowing the supplemental report to be filed.” Id. Here, not only did Defendants have an

opportunity to respond to Dr. Bendick’s rebuttal declaration, Dr. Amidon filed a rebuttal

declaration of her own on September 6, 2018.

       Additionally, one of Defendants’ main contentions for striking Dr. Bendick’s report,

discussed further below, is that he unjustifiably relied on the List of 18,191 Referrals as part of

his analysis, rendering his conclusions hopelessly flawed. Defendants have had a copy of the

List of 18,191 Referrals since 2014, when Plaintiffs first asked Defendants to verify its accuracy.

Defendants refused, even though they could have addressed many of Dr. Amidon’s concerns at

that time. Their newfound critiques are the primary reason Dr. Bendick submitted a rebuttal

declaration in the first place. If Defendants want to hide the ball for several years on such a

central issue, the Court will not punish Plaintiffs for submitting a belated rebuttal report.



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        D.      Reliability of Estimated Expected Representation

        Defendants argue that Dr. Bendick’s expected representation statistics are unreliable

because Dr. Bendick 1) failed to properly vet the accuracy and completeness of data upon which

he relied, 2) improperly relied on an assistant to make calculations that cannot be replicated,

3) excluded almost half of the relevant geographic area in his calculations, and 4) failed to report

margins of error. The Court considers these arguments in turn.

        Defendants’ first contention is that Dr. Bendick failed to verify the completeness or the

significance of the data upon which he relied to calculate the expected representation figure.

Defendants argue that the first misstep was arbitrarily excluding 3,498 alternate addresses 13 for

some of the laborers in the List of 18,191 Referrals. Plaintiffs respond that this was proper

because including several addresses for a single employee places more weight on some

individuals than others, making them “twice as important.” Doc. 714-6 ¶ 8. Plaintiffs argue this

is particularly appropriate for some addresses that are obviously outside of MVP’s reasonable

recruitment area, such as addresses from California and Florida.

        The Court understands that Dr. Bendick disregarded addresses from other states because

they fall outside the reasonable recruitment area of an employer offering minimum-wage,

temporary jobs. But, with respect to addresses in the Chicagoland area, Plaintiffs offer little

more than an axiomatic assurance that double-counting is wrong. As Dr. Amidon argues, the

expected representation estimate begins by determining the reasonable recruitment area

according to the largest PUMAs that account for 95% of referrals. If an employee came to MVP

from one address one year and returned to work for MVP using a different address in another




13
  Dr. Amidon contends there are 3,552 alternate addresses that Dr. Bendick excluded from the List of
18,191 Referrals, but it is unclear from the parties’ briefs which number is accurate.

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year, it is plausible that both addresses are still relevant for determining the reasonable

recruitment area.

        Dr. Bendick contends that it is nonetheless standard practice to rely on the first address

listed in employer records because this is the address where the employer can most likely reach

the employee. Relying on the first address listed might be appropriate when interpreting the

employer’s original records. Dr. Amidon concedes that “[i]t is reasonable practice among labor

economists and other employment analysts to draw certain inferences from business records

organized by an employer in a human resources information system.” Doc. 653 ¶ 7. But that is

not what happened here. Instead, Plaintiffs’ counsel compiled the List of 18,191 Referrals from

the Master Address List of over 64,000 referrals, so Dr. Bendick did not rely on primary source

material. In this situation, it is not clear that the “alternate” 3,498 addresses are any more or less

relevant than the addresses Dr. Bendick included in his analysis.

        The parties also dispute how Plaintiffs’ counsel compiled the List of 18,191 Referrals,

and Defendants critique Dr. Bendick for failing to consider whether he should have included an

additional 4,862 14 addresses in the Master Address List as a part of his analysis. Dr. Bendick

points out that these addresses likely relate to work referrals from prior to 2009 and it would “not

be standard professional practice among economists and other employment analysts to rely on

these [] records of unclear origin and relevance.” Doc. 714-6 ¶ 11. But Plaintiffs have not

satisfactorily explained how they culled the Master Address List to ensure the List of 18,191

Referrals only included relevant addresses. 15


14
  In her first report Dr. Amidon contends there were an additional 5,710 addresses that Plaintiffs’ counsel
excluded, but it is unclear from the parties’ briefs which number is accurate.
15
   Plaintiffs’ counsel disputes that the Master Address List was formatted as a CSV file and contends that
it contained an “Address” and “Alternate Address” field, from which he could easily extract the primary
address. See Doc. 644-1, Williams Decl. ¶ 24. Plaintiffs returned the original disc containing the Excel

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        Without knowing how the List of 18,191 Referrals was compiled, Defendants make a

persuasive argument that Dr. Bendick’s ultimate conclusion is not reliable. “Reliability [under

Daubert], however, is primarily a question of the validity of the methodology employed by an

expert, not the quality of the data used in applying the methodology or the conclusions

produced.” Manpower, Inc. v. Ins. Co. of Pa., 732 F.3d 796, 806 (7th Cir. 2013); Smith v. Ford

Motor Co., 215 F.3d 713, 718 (7th Cir. 2000) (“[W]e emphasize that the court’s gatekeeping

function focuses on an examination of the expert’s methodology.”). Some caselaw supports the

notion that courts can use questionable sources of data as grounds to exclude an expert’s opinion.

See Macy v. Whirlpool Corp., 613 F. App’x 340, 344 (5th Cir. 2015) (“[A]n expert’s testimony

must be reliable at every step, including the methodology employed, the facts underlying the

expert’s opinion, and the link between the facts and the conclusion.”); Sommerfield v. City of

Chicago, 254 F.R.D. 317, 324 (N.D. Ill. 2008) (“[N]otwithstanding the wide latitude accorded

experts in choosing the sources on which to base opinions, those sources must be shown to be

reliable.”). As Defendants argue, the subset of addresses Dr. Bendick relied on from the List of

18,191 Referrals is the cornerstone of Dr. Bendick’s expected representation estimates and his

failure to investigate how the list came about gives the Court some concern about the accuracy of

his conclusions. See Forte v. Liquidnet Holdings, Inc., 675 F. App’x 21, 24 (2d Cir. 2017) (“A

failure to validate data by itself can constitute grounds for excluding an expert report.”); Munoz

v. Orr, 200 F.3d 291, 301–02 (5th Cir. 2000) (“Dr. Benz relied on the plaintiffs’ compilations of

data, which gives rise to a ‘common-sense skepticism’ regarding the expert’s evaluation, and did

not seek to verify the information presented to him.” (citations omitted)); In re Testosterone


files to Defendants in the midst of the case. Although Defendants re-produced this disc, which contained
CSV formatted files, Plaintiffs still maintain that the original files were not in CSV format. In short, the
Court cannot come to any definitive conclusion on how Plaintiffs culled the Master Address List to create
the List of 18,191 Referrals.

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Replacement Therapy Prod. Liab. Litig., No. 14 C 1748, 2018 WL 3586182, at *12 (N.D. Ill.

July 26, 2018) (expert who relied on summaries of pertinent information compiled by plaintiff’s

attorney did not adequately investigate evidence to render expert opinion). But the Seventh

Circuit has held that an accounting expert can rely on information furnished by the plaintiff’s

attorney to render an expert opinion on the value of lost future earnings. Tuf Racing Prod., Inc.

v. Am. Suzuki Motor Corp., 223 F.3d 585, 591 (7th Cir. 2000). As the Seventh Circuit

commented in Manpower, “[t]hat the expert accountant in Tuf could opine on future earnings on

the basis of information supplied by counsel should make clear that the reliability of the data

itself is not the object of the Daubert inquiry. The reliability of data and assumptions used in

applying a methodology is tested by the adversarial process and determined by the jury; the

court’s role is generally limited to assessing the reliability of the methodology—the

framework—of the expert’s analysis.” 732 F.3d at 808. Here, Defendants do not contest the

methodology, or perhaps more accurately the framework, of Dr. Bendick’s analysis. Instead,

Defendants contest that Dr. Bendick failed to properly vet the original data files on which he

relied, rendering his conclusions faulty because the data is of questionable relevance. But the

“Daubert inquiry is not designed to have the district judge take the place of the jury to decide

ultimate issues of credibility and accuracy,” Lapsley v. Xtek, Inc., 689 F.3d 802, 805 (7th Cir.

2012), including the “soundness of the factual underpinnings” of the expert opinion, Ford Motor

Co., 215 F.3d at 718. Defendants raise valid criticisms of the data on which Dr. Bendick relied.

These critiques go to the weight of Dr. Bendick’s analysis, not its admissibility. Manpower, 732

F.3d at 807–08.

       Defendants’ remaining arguments regarding the expected representation figure similarly

go to the weight of Dr. Bendick’s testimony. Defendants point out that Dr. Bendick relied on a



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consultant, Warren Glimpse, to do coding work and calculate the estimated demographic

composition of people who were likely to be qualified, available, and interested in MVP referrals

within the relevant PUMAs. Part of the reason Dr. Bendick worked with Glimpse is because he

is proficient in a computer code in which Dr. Bendick does not write. After producing the same

code to Defendants, however, Dr. Amidon could not replicate all of Glimpse’s figures, and

during his deposition Dr. Bendick could not explain what caused the discrepancy. Defendants

argue that Dr. Bendick’s testimony is therefore inadmissible. See Zenith Elecs. Corp. v. WH-TV

Broad. Corp., 395 F.3d 416, 419 (7th Cir. 2005) (“Someone else using the same data and

methods must be able to replicate the result.”).

       Experts can rely on assistants to formulate an opinion, Dura Auto. Sys. of Ind., Inc. v.

CTS Corp., 285 F.3d 609, 612 (7th Cir. 2002), and can rely on an assistant’s work within a

certain discipline without being an expert in that discipline themselves, Walker v. Soo Line R. R.

Co., 208 F.3d 581, 589 (7th Cir. 2000) (“Nor do we believe that the leader of a clinical medical

team must be qualified as an expert in every individual discipline encompassed by the team in

order to testify as to the team’s conclusions.”). The “[a]nalysis becomes more complicated if the

assistants aren’t merely gofers or data gatherers but exercise professional judgment that is

beyond the expert’s ken.” Dura, 285 F.3d at 613. In other words, an expert cannot serve as the

mouthpiece for another expert. Id. at 614. Here, however, Glimpse performed geocoding work

under Dr. Bendick’s supervision and direction—work that other courts have found to involve

straightforward calculations as opposed to “a host of discretionary expert judgments.” Id. at 615;

see also EEOC v. DHL Express (USA), Inc., No. 10 C 6139, 2016 WL 5796890, at *5 (N.D. Ill.

Sept. 30, 2016) (finding assistant’s geocoding work “d[id] not raise the concerns voiced by the

court in Dura”). Further, the fact that Dr. Amidon could not replicate precisely the same



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estimate of African Americans expected to be interested in MVP referrals does not mean Dr.

Bendick’s testimony is inadmissible. Defendants rely on Zenith, which involved an expert who,

as the Seventh Circuit put it, relied on his “expert intuition” to forecast a company’s hypothetical

projected growth. 395 F.3d at 418–19. Intuition is not a method that can be tested. Id. at 419.

Here, by contrast, Defendants do not really dispute that geocoding is an acceptable methodology

that can be tested, only that they reached a slightly different result after crunching the numbers.

Dr. Bendick, for example, estimated there to be 1,606 NHAA from PUMA number 03408 that

were interested in MVP referrals, while Dr. Amidon estimated the number to be 1,667. This

could be due to any number of variables with which an expert could tinker. More importantly,

Plaintiffs disclosed the code that Glimpse used, so Defendants have the tools they need to try to

verify or falsify Glimpse’s figures. The fact that they reached marginally different estimates—

differences that, as Plaintiffs point out, make no significant impact on the final analysis—is not a

reason to exclude Dr. Bendick’s testimony. See Ford Motor Co., 215 F.3d at 718 (“The

soundness of the factual underpinnings of the expert’s analysis and the correctness of the

expert’s conclusions based on that analysis are factual matters to be determined by the trier of

fact[.]”).

        Next, Defendants argue that Dr. Bendick arbitrarily excluded 869 addresses, located in

thirty additional PUMAs, from his calculations. But determining a reasonable recruitment area

necessarily means that Dr. Bendick must exclude some PUMAs. Economists determine an

employer’s reasonable recruitment area according to the area the employer “usually seeks or

reasonably could seek workers to fill the position in question.” Doc. 714-6 ¶ 12 (citing

requirements for affirmative action programs under 41 C.F.R § 60-2.14, which requires federal

contractors to separately determine the availability of qualified minorities and women available



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for employment “to establish a benchmark against which the demographic composition of the

contractor’s incumbent workforce can be compared”). Dr. Bendick included the PUMAs that

accounted for over 95% of the referrals. Including the PUMAs that account for less than 5% of

referrals would do little to define the area from which an employer usually draws workers. 16

        Finally, Defendants criticize Dr. Bendick for failing to report a margin of error for each

PUMA included in his analysis. Defendants argue that since the ACS is based on a sample of

the population within each PUMA, there is necessarily an error rate attached to each PUMA.

But the margin of error for each separate PUMA is not particularly relevant because the

estimated expected representation figure is based on all of the PUMAs combined. Defendants do

not explain how the margin of error for each individual PUMA would assist a “judge to evaluate

how potential error . . . may have affected the obtained pattern of responses.” Doc. 601 at 23

(citing Shari Seidman Diamond, Reference Manual on Scientific Evidence 362 (Nat’l Acads.

Press, 3rd ed. 2011).

        In summary, “[t]he critical inquiry is whether there is a connection between the data

employed and the opinion offered; it is the opinion connected to existing data ‘only by the ipse

dixit of the expert,’ that is properly excluded under Rule 702.” Manpower, 732 F.3d at 806

(citation omitted). Here, there is more than a connection between the data and Dr. Bendick’s

estimated representation figure. Critiques regarding the quality of the data on which he relied do

not render his opinion inadmissible.




16
   Dr. Bendick also states that he excluded high-income areas, such as Chicago’s Gold Coast, because few
workers interested in low-paid jobs with MVP were likely to reside in these areas. But if there were
significant referrals from these areas, that would seem to undercut Dr. Bendick’s assumption that areas
like the Gold Coast are exclusively high-income neighborhoods with few workers interested in low-paid
jobs. But, as best as the Court can tell, there were not a substantial number of home addresses from this
area.

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       E.      Reliability of Estimated Actual Representation

       Defendants argue that Dr. Bendick’s estimated actual representation figures are

unreliable because Dr. Bendick 1) could not identify the source for the data in the List of 11,255

Referrals, 2) underestimated the proportion of NHAA among GSB referrals, 3) failed to estimate

the race for more than a quarter of GSB referrals, and 4) relied on two different sources of data

from the Census Bureau to estimate the expected representation figure and the actual

representation figures, respectively.

       First, Defendants point out that Dr. Bendick is unable to explain where he obtained the

addresses that he used to compile the List of 11,255 Referrals and therefore Dr. Amidon cannot

recreate a crucial component of his calculations. Similar to Defendants’ arguments regarding the

List of 18,191 Referrals, these concerns go to the weight, rather than the admissibility of Dr.

Bendick’s testimony. Manpower, 732 F.3d at 807–08. Significantly, Defendants do not allege

that Dr. Bendick paired names to the wrong addresses. Whatever the source of the addresses,

they must have originated in Defendants’ materials. Defendants ask for too much when they

demand step-by-step instructions on how to replicate Dr. Bendick’s calculations.

Studiengesellschaft Kohle, m.b.H. v. Dart Indus., Inc., 862 F.2d 1564, 1580 (Fed. Cir. 1988)

(“[T]he opinion testimony of expert witnesses need not contain step-by-step calculations.”). The

more important consideration is whether Defendants have the tools necessary to test Dr.

Bendick’s results, based on the data and methods disclosed. Zenith, 395 F.3d at 419 (“An expert

must offer good reason to think that his approach produces an accurate estimate using

professional methods, and this estimate must be testable.”). With respect to the List of 11,255

Referrals, they do.




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          Second, Defendants argue that Dr. Bendick underestimated the proportion of NHAA

referrals because he incorrectly assigned referrals without an address a 0% probability of being

NHAA. During his deposition, Dr. Bendick testified that he had intended to exclude referrals

without an address from his calculation, rather than including them. Then, in his rebuttal

declaration, Dr. Bendick testified that it is “unclear whether including or excluding zeros when

computing the representation of [NHAA] increases or decreases the accuracy and reliability of

the estimate.” Doc. 714-6. His reasoning was that discriminatory hiring preferences might have

caused MVP to record less addresses for NHAA, in which case excluding these referrals would

overestimate NHAA representation. The problem with this reasoning is that it places the cart

before the horse. Dr. Bendick’s analysis is offered to help demonstrate that MVP and GSB

colluded in a racially-discriminatory referral practice. But assuming at the outset that the

Defendants discriminated against Plaintiffs and controlling the variables as if that were true

would undermine the usefulness of the statistics. EEOC v. Sears, Roebuck & Co., 628 F. Supp.

1264, 1286 (N.D. Ill. 1986) (“[T]he assumptions made by a statistician in formulating a model

can be far more important than the numerical complexities and results of the analysis. Without a

sound theoretical basis, which is carefully reasoned and closely tailored to the factual

circumstances of the case, the statistical results can be meaningless.”), aff’d, 839 F.2d 302 (7th

Cir. 1988). Ultimately, Dr. Bendick’s reason for including referrals without an address is not

“too complex for the jury” to understand. Stollings v. Ryobi Techs., Inc., 725 F.3d 753, 766 (7th

Cir. 2013). Thus, this too goes to the weight, rather than the admissibility of his analysis. Id.

(“The judge should permit the jury to weigh the strength of the expert’s conclusions, provided

[the] shortcomings are within the realm of a lay juror’s understanding.”). Dr. Amidon, however,

ran the numbers excluding referrals without an address 17 and Dr. Bendick incorporated these
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     Dr. Amidon does not endorse these figures as accurate estimates of actual representation. She

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figures into his rebuttal declaration. For the reasons stated above, the Court finds these estimates

of the actual representation rate to be more informative than the figures in Dr. Bendick’s Revised

Declaration. Consistent with Dr. Bendick’s preference to opt for the more conservative of two

plausible estimates, the Court places more weight on the estimated actual representation figures

in Dr. Bendick’s rebuttal declaration in considering the motion for certification.

        Third, Defendants argue that Dr. Bendick failed to assign addresses to more than a

quarter of GSB referrals, 18 rendering his calculations inherently unreliable because he fails to

consider that referrals without an address had a greater chance of being NHAA than the referrals

with addresses. In other words, the referrals with an address might not be representative of the

entire population of people referred to GSB during any single year. Further, Defendants argue

the 72.4% figure is misleading because Dr. Bendick assigned a probability to roughly half of the

referrals in 2009 to 2010—two years that had the largest shortfalls. He assigned a probability to

more than 80% of referrals in 2014 to 2015—two years that had, according to Defendants, likely

no shortfall in NHAA representation. As Dr. Bendick explains, the primary reason he did not

have addresses for some of the referrals is that Defendants provided incomplete data sets. For

the remaining referrals Dr. Bendick either could not place the address within a census block or

the Census Bureau did not have useful information for that particular block. Defendants

essentially blame Dr. Bendick for failing to investigate why the records they provided him were

of such poor quality. Again, this goes to the weight afforded Dr. Bendick’s analysis, not its

admissibility. Walker, 208 F.3d at 586–87.



calculated the figures to demonstrate that excluding referrals without an address (and therefore ones that
did not have an assigned probability of being NHAA) increases the actual representation estimates.
18
   Dr. Bendick states that he assigned a probability to 73.5% of referrals across all years to calculate the
estimated actual representation figures, but Defendants argue that he only assigned a probability to 72.4%
of the referrals.

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        Defendants also argue that Dr. Bendick’s calculation of the shortfall in hours worked is

unreliable because Dr. Bendick relied on incomplete data furnished by Defendants. Specifically,

Defendants point out that the Yearly GSB Hours Files contained names and hours for referrals

that did not correspond neatly with data in the Yearly Cicero Address Files. Some of the

employees also had, as Defendants call it, “suspect hours,” Doc. 601 at 28, including some that

had accumulated more than 2,000 hours in a single year. For a temporary position that was

supposed to last no more than ninety days, Defendants point out that hours of this magnitude

tend to reflect a full-time employee instead of a temporary laborer. 19 Defendants argue that these

issues “warranted further investigation, not blind reliance.” Doc. 601 at 28. For the same

reasons outlined above, this goes to the weight given Dr. Bendick’s testimony because it deals

with the “factual underpinnings” of his analysis. Ford Motor Co., 215 F.3d at 718.

Additionally, Dr. Bendick’s shortfall analysis with respect to hours worked is, in the Court’s

view, much less significant at the class certification stage than the expected representation and

actual representation figures. The shortfall in hours is primarily relevant to determining

damages.

        Finally, Defendants argue that Dr. Bendick’s testimony is unreliable because he used

demographic information from the ACS to estimate his expected representation figure but relied

on the decennial census to estimate the actual representation rate. Defendants argue that this

renders his calculations unreliable according to “accepted scientific standards, including those

described by the Bureau responsible for publishing both data sets.” Doc. 601 at 29. This is what


19
  Although MVP and GSB had an agreement that it would not employ laborers as temporary assignments
for more than ninety days, they may have ignored this rule. Former class representative Hunt, for
instance, testified that he worked more than ninety days at GSB without being offered a permanent
position. See Doc. 700-1 at 185–86. It seems this is at least one plausible explanation for why MVP kept
records of these hours, so it is not obvious that Dr. Bendick should have excluded the numbers from his
analysis.

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the Census Bureau states: “Use caution in comparing ACS data with data from the decennial

census or other sources. Every survey uses different methods, which could affect the

comparability of the numbers.” U.S. Census Bureau, A Compass for Understanding and Using

American Community Survey Data: What General Data Users Need to Know, p. 25, U.S.

Government Printing Office, Washington, DC, 2008. This cautionary instruction does not mean

that a comparison between data from one source and data from the other necessarily departs from

“accepted scientific standards.” Doc. 601 at 29. The Court ventures to guess that Dr. Bendick

used the ACS data to estimate the expected representation figure because it provides data

relevant for determining the population likely to seek work at MVP, such as those who are part

of the labor force and who earn less than the median salary for the Chicago metropolitan area.

Census blocks, by contrast, consist of smaller geographical units that provide a better predictor

that a person with a home address located within the census block is of a certain race, which is

the only Census Bureau data relevant to Dr. Bendick’s actual representation estimate.

Defendants offer no substantive argument for why Dr. Bendick could not rely on both the ACS

and the decennial census in his analysis.

       In sum, Dr. Bendick’s estimates for both the expected and actual representation figures

are sufficiently reliable for the Court to consider as part of Plaintiffs’ motion for class

certification. Defendants’ critiques go to the weight that should be afforded his testimony, not its

admissibility.

II.    Class Certification

       Plaintiffs seek to certify the following class:

                 African-American laborers who sought work assignments through
                 MVP and were otherwise eligible to work at GSB, but on one or
                 more occasion were not assigned to work at GSB when a position
                 for which they were otherwise qualified was available during the

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               period of four years prior to the filing of the Plaintiffs’ Original
               Complaint for the § 1981 claims up through and including
               December 31, 2014.

Doc. 700 at 38.

       A.      Legal Standard

       Class certification is appropriate where a plaintiff can meet the four requirements of Rule

23(a)—numerosity, commonality, typicality, and adequacy of representation. Fed. R. Civ. P.

23(a). Additionally, a plaintiff must also satisfy one of the three subsections of Rule 23(b). Fed.

R. Civ. P. 23(b); Oshana v. Coca-Cola Co., 472 F.3d 506, 513 (7th Cir. 2006). Here, Plaintiffs

seek certification under Rule 23(b)(3), which requires a finding that “questions of law or fact

common to class members predominate over any questions affecting only individual members,

and that a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Finally, although not an explicit

requirement of Rule 23, the party seeking certification must demonstrate that the class members

are identifiable. Oshana, 472 F.3d at 513.

       The Court has broad discretion in determining whether to certify a proposed class. Keele

v. Wexler, 149 F.3d 589, 592 (7th Cir. 1998). The party seeking certification bears the burden of

demonstrating that certification is proper by a preponderance of the evidence. Messner v.

Northshore Univ. HealthSystem, 669 F.3d 802, 811 (7th Cir. 2012). The Court must engage in a

“rigorous analysis,” resolving material factual disputes where necessary. Wal-Mart Stores, Inc.

v. Dukes, 564 U.S. 338, 350–51 (2011); Szabo v. Bridgeport Machs., Inc., 249 F.3d 672, 676 (7th

Cir. 2001). But “[i]n conducting [the Rule 23] analysis, the court should not turn the class

certification proceedings into a dress rehearsal for the trial on the merits.” Messner, 669 F.3d at

811; Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 465–66 (2013) (merits



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questions are to be considered only to the extent relevant to determining if Rule 23’s

prerequisites are met).

        B.      Numerosity

        Defendants do not contest that Plaintiffs miss the numerosity requirement in this case.

According to Dr. Bendick’s analysis, there was an approximate shortfall of anywhere from 34 to

668 20 NHAA laborers each year from 2009 to 2014. The shortfall each year is nearly enough to

constitute a class in itself. Phillips v. Waukegan Hous. Auth., 331 F.R.D. 341, 350 (N.D. Ill.

2019) (“While there is no magic number, forty or more members is generally considered to be

sufficient to satisfy the numerosity requirement.”). Thus, Plaintiffs have met the numerosity

requirement.

        C.      Commonality

        Rule 23(a)(2) provides that there must be “questions of law or fact common to the class.”

“Commonality requires the plaintiff to demonstrate that the class members ‘have suffered the

same injury.’” Wal-Mart, 564 U.S. at 349–50 (citing Gen. Tel. Co. of Sw. v. Falcon, 457 U.S.

147, 157 (1982)). There must be a “common contention” that is “capable of classwide

resolution—which means that determination of its truth or falsity will resolve an issue that is

central to the validity of each one of the claims in one stroke.” Id. at 350. “[S]uperficial

common questions—like . . . whether each class member ‘suffered a violation of the same

provision of law’—are not enough.” Jamie S. v. Milwaukee Pub. Sch., 668 F.3d 481, 497 (7th

Cir. 2012) (quoting Wal-Mart, 564 U.S. at 350).



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  These numbers come from Dr. Bendick’s Revised Declaration. Unfortunately, neither party includes a
chart comparing the 29.5% expected representation figure against the actual representation figures that
exclude referrals without an address. This would, in the Court’s opinion, produce the most informative
estimates of the shortfall in representation. Here, the differences are insignificant because Defendants do
not contest the numerosity requirement.

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       Whether Plaintiffs can proceed on their claims on a classwide basis depends on whether

“examination of all the class members’ claims for relief will produce a common answer to the

crucial question why was I disfavored.” Wal-Mart, 564 U.S. at 352. The existence of an illegal

policy may provide the “glue” to hold together class members’ claims in answering this question.

See Jamie S., 668 F.3d at 498 (quoting Wal-Mart, 564 U.S. at 352). Here, Plaintiffs contend that

Defendants instituted such illegal policies by systematically instructing on-site supervisors and

dispatchers not to refer African Americans to GSB.

       In Falcon, the Supreme Court suggested that parties can show commonality in a pattern

or practice case in one of two ways: 1) through proof that the employer used a biased company-

wide testing procedure to evaluate job applicants or current employees, or 2) through significant

proof of a general policy of discrimination that manifests itself in the same general fashion

throughout the company. Falcon, 457 U.S. at 159 n.15. Subsequent cases, including Wal-Mart,

have found commonality lacking where the allegedly discriminatory policy is highly

discretionary and the plaintiffs do not identify a common way in which the defendants exercise

that discretion. See Wal-Mart, 564 U.S. at 355–56; Bolden v. Walsh Constr. Co., 688 F.3d 893,

896–98 (7th Cir. 2012) (reversing class certification where alleged discrimination resulted from

acts of individual supervisors exercising independent discretion). But commonality will exist

where allegedly discriminatory general policies are enforced at the corporate level rather than by

individual supervisors, even where there is some discretion in the policies’ execution. See

McReynolds v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 672 F.3d 482, 488–91 (7th Cir.

2012) (allowing class certification for disparate impact claim challenging company-wide

practices that local managers had to follow), abrogated on other grounds by Phillips v. Sheriff of

Cook Cty., 828 F.3d 541 (7th Cir. 2016); Scott v. Family Dollar Stores, Inc., 733 F.3d 105, 114



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(4th Cir. 2013) (“[E]ven in cases where the complaint alleges discretion, if there is also an

allegation of a company-wide policy of discrimination, the putative class may still satisfy the

commonality requirement for certification.”). As the Seventh Circuit has stated, “a company-

wide practice is appropriate for class challenge even where some decisions in the chain of acts

challenged as discriminatory can be exercised by local managers with discretion—at least where

the class at issue is affected in a common manner, such as where there is a uniform policy or

process applied to all.” Chicago Teachers Union, Local No. 1 v. Bd. of Educ. of City of Chicago,

797 F.3d 426, 437 (7th Cir. 2015).

          Defendants argue that Plaintiffs have not provided significant proof of a general policy of

discrimination. They argue that MVP supervisors and dispatchers had individual discretion to

hire and refer workers based on a number of factors, including their prior experience, willingness

to abide by GSB’s GMPs, or availability to work shifts that were in demand. See Jones v. GES

Exposition Servs., Inc., No. 02 C 6243, 2004 WL 2011396, at *9 (N.D. Ill. Sept. 7, 2004) (“[A]

decentralized hiring procedure, which allows decisionmakers to consider subjective factors, may

support individual claims of discrimination but cuts against the assertion that an employer

engages in a pattern or practice of discriminatory hiring as a standard operating procedure.”

(internal quotation marks omitted) (citation omitted)). Defendants contend that the statistical and

anecdotal evidence does nothing to overcome the inherently individualized nature of Plaintiffs’

claims.

          The Court disagrees. First, Dr. Bendick’s analysis provides persuasive evidence that

disparities in hiring can be explained by a general policy of discrimination, rather than

individualized processes. See Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 339 n.20

(1977) (“Statistics showing racial or ethnic imbalance are probative . . . because such imbalance



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is often a telltale sign of purposeful discrimination; absent explanation, it is ordinarily to be

expected that nondiscriminatory hiring practices will in time result in a work force more or less

representative of the racial and ethnic composition of the population in the community from

which employees are hired.”). Neither party includes a chart comparing the 29.5% expected

representation figure against the actual representation figures from Dr. Bendick’s rebuttal

declaration, which the Court would find more probative than the actual representation figure in

Dr. Bendick’s Revised Declaration. But even if the Court were to simply refer to the rebuttal

declaration, which incorporates an even lower expected representation figure, there are

significant disparities in the representation of NHAA from 2009 to 2013, the same year this

lawsuit was initiated. According to Dr. Bendick, the shortfalls are all statistically significant at

nine standard deviations or more. Statisticians generally consider discrepancies of two or more

standard deviations statistically significant. Perez v. City of Batavia, No. 98 C 8226, 2004 WL

2967153, at *10 (N.D. Ill. Nov. 23, 2004) (“Generally, statisticians believe that two standard

deviations is enough to show that the result is unlikely (less than a 5% probability) to be the

result of chance[.]”). These are stark figures that suggest a common answer to the central

question: why were African American laborers disfavored? Wal-Mart, 564 U.S. at 352.

       The cases Defendants point to demonstrate that Dr. Bendick’s analysis actually helps

substantiate Plaintiffs’ common claim. Bennett v. Roberts involved a minority job applicant who

claimed that a school district discriminated against her and similarly situated applicants because

of their race. No. 96 C 6917, 2000 WL 781868, at *3 (N.D. Ill. June 15, 2000). Her claim relied

in part on an expert’s statistical analysis that concluded “race had to be a factor in hiring because

so few minorities were employed by the District.” Id. at *5. The parallel here would be if Dr.

Bendick only estimated the number of African Americans referred to GSB with nothing else and



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then concluded that an arbitrarily small number of referrals was proof of discrimination. But

Dr. Bendick calculated the expected representation figure to provide context for the actual

representation figures, making Bennett inapposite to the facts in this case. See also 41 C.F.R

§ 60-2.14(b) (requiring federal contractors establishing affirmative action programs to

“separately determine the availability of [qualified] minorities or women for each job group”).

       Defendants also point to Betts v. Sundstrand Corp., where the plaintiffs offered statistics

showing that the population in Rockford, Illinois, was 15.1% African American and claimed

discrimination because the defendant corporation’s workforce was only 3.5% African American.

No. 97 C 50188, 1999 WL 436579, at *3 (N.D. Ill. June 21, 1999). Although one step further

along than the statistics offered in Bennett, the court similarly found that “these statistics do not

paint the entire picture.” Id. at *4. Because the plaintiffs’ claims involved hiring practices, “the

applicant pool, including their qualifications, race and interest in the jobs at issue, [wa]s key in

determining the relevant statistics.” Id. The plaintiffs in Betts had not controlled for any of these

factors. They had, for example, assumed that Rockford was the appropriate reasonable

recruitment area for determining the expected representation of African Americans in the

workforce. Id. But the court noted that the “defendant’s recruitment efforts for professionals

and managers are nationwide,” and that “[e]ven with regards to entry-level positions, plaintiffs

have not shown that it is proper to exclude areas close to Rockford, within Winnebago and

Boone counties[.]” Id. Dr. Bendick, by contrast, first determined the reasonable recruitment

area for GSB based on the home addresses of those MVP referred to GSB. EEOC v. O & G

Spring & Wire Forms Specialty Co., 38 F.3d 872, 876–77 (7th Cir. 1994) (“Determining the

relevant labor market is an essential step in determining whether there are any statistically

significant deviations between the market and the employer’s hiring patterns.”). The resulting



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cluster of PUMAs around the Chicagoland area is borne out by the anecdotal evidence. Many

positions at GSB were minimum wage jobs that would make a long commute too expensive to

justify the cost and, as Defendants acknowledge, MVP recruited in areas close to the Cicero

office and to the bakery because individuals in these areas would have shorter commutes to

work. Dr. Bendick then calculated the expected representation based on the population that was

qualified, available, and interested in MVP work assignments, something that the plaintiffs in

Bennett and Betts failed to do. For the reasons already recounted, Dr. Bendick’s analysis

provides significant proof of a discriminatory practice.

       Plaintiffs have also offered persuasive anecdotal evidence establishing a discriminatory

policy. Green and Zollicoffer testified that dispatchers gave Latino laborers assignments the

moment they walked in the door, even if they arrived after African Americans workers who were

there early and waiting for assignments. Former MVP employees testified that this did not

happen randomly. Carretero, Ceja, Corral, and Sanchez all testified that dispatchers and

supervisors regularly steered African Americans away from assignments by telling them to come

back the next day, falsely telling them GSB was on a hiring freeze, or crossing out their names

on assignment lists based off of their surnames. For Latino laborers, by contrast, dispatchers

immediately gave them an assignment or began calling around to see if clients had open

positions. Carretero testified that she heard managers calling African Americans niggers, and

“lazy, good-for-nothing ‘negros.’” Doc. 700-1 at 136. Ceja testified that she was “yelled at by

representatives of client companies” for assigning them African Americans and that MVP’s

president warned her to comply because he did not want to lose the account. Id. at 153. Sanchez

testified that Salgado, GSB’s plant manager, told her he only wanted Latino workers.




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       The fact that MVP utilized a decentralized decision-making process and MVP

supervisors and dispatchers had a degree of autonomy to make referral decisions does not

preclude Plaintiffs’ claim because they challenge Defendants’ overarching policy against hiring

African Americans. Similar to McReynolds, the maintenance of a mandatory, top-down policy

that causes racial disparities is sufficient to establish a common question. 672 F.3d at 489–91

(explaining that if company-wide policies increased the amount of discrimination by local

decisionmakers, “[t]he incremental causal effect . . . of those company-wide policies—which is

the alleged disparate impact—could be most efficiently determined on a class-wide basis”); see

also Beley v. City of Chicago, No. 12 C 9714, 2015 WL 8153377, at *4 (N.D. Ill. Dec. 7, 2015)

(finding commonality requirement met where the plaintiffs challenged the Chicago Police

Department’s alleged policy of refusing to register homeless sex offenders, finding that variances

in interactions between individual police officers and homeless sex offenders did not defeat

commonality because the “purported policy nonetheless shaped those interactions”). As the

Seventh Circuit found in Chicago Teachers Union, it “is more efficient to answer the question

‘did these early discriminatory processes have a disparate impact on race’ just one time rather

than over and over again in multiple separate lawsuits.” 797 F.3d at 436 & n.5 (finding that if

objective criteria in first steps of turnaround process “narrowed the pool in such a way as to have

a disparate impact on African-American teachers,” the plaintiffs had identified “the glue that

binds the claims together without regard to the later, subjective step,” meaning that a

“discriminatory step in a chain of events” could provide a common question and affect the

“ultimate outcome”).

       The cases Defendants rely on are inapplicable for these same reasons. In Jones, the

plaintiffs did not assert a discriminatory policy of general application, only that various foreman



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were predominantly white and gave preference to other white carpenters in training and hiring

opportunities. 2004 WL 2011396, at *9. That is as if the Plaintiffs in this case had only alleged

that the supervisors and dispatchers were all Latino and therefore favored Latino job applicants.

In Stubbs v. McDonald’s Corp., the plaintiffs sought to certify a class that would have included

all African American employees of McDonald’s restaurants, that were owned or operated by

McDonald’s Corporation, since 1996. 224 F.R.D. 668, 675 (D. Kan. 2004). The plaintiffs made

no allegations of a company-wide policy against promoting or hiring African Americans, and

they conceded that all decisions were decentralized and supervisors at different locations were

given discretion to make promotions. Id. The court found that such allegations involved

“myriad individual considerations” that would not be appropriate for classwide adjudication. Id.

Here, by contrast, Plaintiffs have alleged that managers, supervisors, and dispatchers all adhered

to one policy: no African Americans.

       Defendants also make much of the fact that several of the former MVP employees only

provide testimony regarding events in 2014 and 2015—years for which “Plaintiffs’ own expert

found no statistically significant shortfall.” Doc. 711 at 30, 37–38. To begin, Defendants

misrepresent Dr. Bendick’s findings. Dr. Bendick found a statistically significant shortfall in

2014. The alternative analysis in his rebuttal declaration did not find a shortfall in 2014, but Dr.

Bendick never reneged on his initial estimate. Secondly, critiquing Dr. Bendick’s analysis while

simultaneously arguing that it disproves the anecdotal evidence strikes the Court as

disingenuous. But at this stage, the Court does not need to determine whether Plaintiffs have

presented credible testimony that will allow them to prevail at trial. “Rule 23 grants courts no

license to engage in free-ranging merits inquiries at the certification stage. Merits questions may

be considered to the extent—but only to the extent—that they are relevant to determining



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whether the Rule 23 prerequisites for class certification are satisfied.” Amgen, 568 U.S. at 466.

How many times Plaintiffs visited MVP, or whether they eventually received an assignment at

GSB, are peripheral issues that do not diminish their core contention.

       Defendants also argue that proposed class members who received an assignment from

MVP do not have common claims against GSB because GSB did not interfere with these

individuals’ ability to form an at-will contract with MVP. This misconstrues the class definition.

The class Plaintiffs seek to certify is composed of African Americans who sought work and “on

one or more occasion were not assigned to work at GSB.” Doc. 700 at 38. If a plaintiff can

show that he was denied a referral to GSB, then he has a claim, regardless of whether he received

an assignment to a different client. If a plaintiff cannot show that he was denied a referral to

GSB, then he would fall outside of the proposed class definition.

       In short, the statistical evidence and anecdotes together provide “significant proof” of a

“uniform employment practice” that caused a common injury to the class. Wal-Mart, 564 U.S.

at 353–55. Plaintiffs have met the commonality requirement.

       D.      Typicality

       A plaintiff’s claim is typical if it “arises from the same event or practice or course of

conduct that gives rise to the claims of other class members and . . . her claims are based on the

same legal theory.” Oshana, 472 F.3d at 514 (citing Rosario v. Livaditis, 963 F.2d 1013, 1018

(7th Cir. 1992)). Some factual variations will not destroy typicality as long as the plaintiffs

“have the same essential characteristics as the claims of the class at large.” Id. (citation omitted).

Typicality is determined with reference to a defendant’s actions, not with respect to specific

defenses a defendant may have against certain class members. Wagner v. NutraSweet Co., 95

F.3d 527, 534 (7th Cir. 1996).



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       Plaintiffs contend that they meet the typicality requirement because they each suffered

the same injury as a result of Defendants’ company-wide policies under the same circumstances.

Namely, they each arrived at the Cicero office early, signed in, and waited unsuccessfully for

work even though other laborers who arrived after them were put on work tickets. They allege

that all class members were denied work on one or more occasion as a result of the allegedly

discriminatory hiring policy.

       Defendants argue that Plaintiffs’ claims are not typical because of each Plaintiff’s unique

circumstances. They argue that Green stopped visiting the Cicero office after he was stranded

during a ride home one night and Zollicoffer was unavailable to work for significant segments of

the class period, either due to being incarcerated or due to working elsewhere. But just because

each Plaintiff has unique circumstances—as the Court would expect of every putative class

member—that does not make his claims atypical or inadequately aligned with those of the class.

See Rosario, 963 F.2d at 1017 (“The fact that there is some factual variation among the class

grievances will not defeat a class action.”); De La Fuente v. Stokely-Van Camp, Inc., 713 F.2d

225, 232 (7th Cir. 1983) (“The typicality requirement may be satisfied even if there are factual

distinctions between the claims of the named plaintiffs and those of other class members.”); In re

Am. Med. Sys., Inc., 75 F.3d 1069, 1082 (6th Cir. 1996) (typicality ensures that “the

representative’s interests will be aligned with those of the represented group, and in pursuing his

own claims, the named plaintiff will also advance the interests of the class members”). As

previously stated, Plaintiffs testified to substantially the same experiences and allege that

Defendants discriminated against them according to the company-wide hiring policies.

Moreover, Defendants’ arguments address the merits of Plaintiffs’ case and are best left for

summary judgment. Messner, 669 F.3d at 823 (“All of this is at best an argument that some



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class member’ claims will fail on the merits if and when damages are decided, a fact generally

irrelevant to the district court’s decision on class certification.”).

        Defendants also argue that typicality is not met “when it appears that a major focus of the

litigation will be on a defense unique to a named plaintiff.” Gorence v. Eagle Food Ctrs., Inc.,

No. 93 C 4862, 1994 WL 445149, at *10 (N.D. Ill. Aug. 16, 1994). Defendants argue that

Zollicoffer has insurmountable credibility issues that will overshadow his common claim and

that Green’s bias against MVP will be a major issue in the case. These arguments overlap

substantially with Defendants’ arguments regarding Plaintiffs’ adequacy as class representatives,

and the Court addresses them below. See William B. Rubenstein, 1 Newberg on Class Actions

§ 3:28 (5th ed. 2019) (typicality and adequacy of class representatives are closely related

inquiries). Because the named Plaintiffs’ claims are typical of those of the class at large, the

Court finds Plaintiffs have met this requirement.

        E.      Adequacy of Class Representatives

        To show that they are adequate representatives of the class, Plaintiffs must show that:

1) they do not have interests that conflict with the class as a whole, 2) they are “sufficiently

interested in the case outcome to ensure vigorous advocacy,” and 3) class counsel is competent

and willing to vigorously litigate the case. Cavin v. Home Loan Ctr., Inc., 236 F.R.D. 387, 393

(N.D. Ill. 2006). Defendants argue that Plaintiffs have met none of these prongs.

                1.      The Named Plaintiffs

        First, Defendants argue that Plaintiffs’ interests are not aligned with those of the class

because they have not shown that they are part of the class and suffered the same injury. See

Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 625–26 (1997) (“A class representative must be

part of the class and ‘possess the same interest and suffer the same injury’ as the class members.”



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(citation omitted)). They contend that Green and Zollicoffer are not in the class because they

stopped seeking work at MVP.

       Caselaw suggests that plaintiffs in failure-to-hire lawsuits must show that they actually

sought the employment in question so that they can represent the class of job applicants. See

Culver v. City of Milwaukee, 277 F.3d 908, 912 (7th Cir. 2002) (plaintiff who sought work with

police department was inadequate because he “made only perfunctory efforts . . . to obtain a job

application,” had no interest in injunctive relief or money damages, and conceded that his claim

was moot); Smith v. Merchants & Farmers Bank of W. Helena, Ark., 574 F.2d 982, 984 (8th Cir.

1978) (plaintiff, who had limited contact with employer bank and was “not certain that she even

completed the application process,” was inadequate representative for class that included current

employees), abrogated on other grounds by Gardner v. Westinghouse Broad. Co., 437 U.S. 478

(1978). This does not mean, as Defendants suggest, that Plaintiffs must demonstrate a certain

level of tenacity beyond what they have already shown. Plaintiffs have all alleged that they

visited the Cicero office more than once and were denied work on several occasions. Defendants

have not explained why these facts would take the named Plaintiffs outside of the proposed class

because all they have to show is that they were denied work on one or more occasions because of

Defendants’ discriminatory policy. Doc. 700 at 38.

       Second, Defendants argue that Zollicoffer cannot act as a fiduciary of the class because

of his criminal history. The Court disagrees. “Rule 23 contemplates, and the district court

should insist on, a conscientious representative plaintiff.” Rand v. Monsanto Co., 926 F.2d 596,

599 (7th Cir. 1991), overruled on other grounds by Chapman v. First Index, Inc., 796 F.3d 783

(7th Cir. 2015). The concern is that “the representative and counsel may be tempted to sell out

the class for benefits to themselves.” Id. Here, Defendants seek to impeach Zollicoffer’s



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credibility as if this were a trial on the merits. “Most courts have rejected the contention that a

proposed representative is inadequate because of prior unrelated unsavory, unethical, or even

illegal conduct.” Rubenstein, supra, § 3:68 (collecting cases). To the degree courts have

allowed challenges on this basis, they are often relevant to the litigation. Id. Defendants, for

example, cite Davidson v. Citizens Gas & Coke Utility, where the plaintiffs alleged the defendant

employer administered a discriminatory test that had a disparate impact on African Americans in

promotions and hires. 238 F.R.D. 225, 226 (S.D. Ind. 2006). The court found two of the

plaintiffs with multiple criminal convictions were inadequate representatives because “the

convictions themselves would have barred their consideration for employment with Citizens,

regardless of their test scores.” Id. at 229–30. Here, by contrast, MVP did not require criminal

history checks as part of the hiring process. Additionally, Zollicoffer’s past crimes are nearly all

more than a decade old. His armed robbery conviction dates back to 1986, when Zollicoffer was

approximately twenty-two years old, and his most recent conviction from 2011 was for a

misdemeanor domestic battery. It is unlikely that any of these convictions are admissible at trial.

See United States v. Byrd, 771 F.2d 215, 219 (7th Cir. 1985) (“Theft is arguably not a crime

involving dishonesty or false statement.”); United States v. Smith, 181 F. Supp. 2d 904, 909

(N.D. Ill. 2002) (defendant’s convictions for robbery, burglary, and theft were not admissible

because “the government ha[d] not shown that any of them involved false statements or acts of

deceit beyond the basic crime itself”).

       Third, Defendants argue that Plaintiffs’ deposition testimony demonstrates they are

inadequately knowledgeable about the case to be representatives. See Rand, 926 F.2d at 598–99

(“Although a representative plaintiff need not immerse himself in the case . . . the named

plaintiff must have some commitment to the case, so that the ‘representative’ in a class action is



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not a fictive concept.”). Green testified that he had never heard of GSB and that he did not know

he was suing them. Zollicoffer testified that he had no basis for suing GSB and that he did not

know what it meant to be a class representative. Additionally, Defendants contend that evidence

coming out of Hunt’s December 20, 2020 and February 16, 2020 deposition demonstrates that

the named Plaintiffs are “mere figureheads” and inserted into the case to litigate claims driven by

counsel. Doc. 775 at 12.

       Defendants again exaggerate the import of Plaintiffs’ statements. It is not clear from

Zollicoffer’s deposition, for example, whether his statements were merely a concession that he

had no personal knowledge about GSB’s conduct in the allegedly discriminatory hiring policy, or

whether he was completely unaware about Plaintiffs’ grounds for suing the bakery. While Green

and Zollicoffer should have known—and hopefully know by now—why they are suing GSB,

their lack of knowledge in this respect is at least mitigated by the fact that they never worked at

GSB, and so have no personal knowledge about GSB’s conduct. The Court only expects them to

testify to their personal interactions with MVP. They seek to substantiate their allegations of a

company-wide discriminatory hiring policy through other witnesses. The Court also does not

find it appropriate to import any concerns about Hunt and his interactions with counsel to the two

remaining named Plaintiffs.

       Although the Court is troubled by Plaintiffs’ lack of knowledge regarding the legal

process, their knowledge in this respect is mostly relevant as a means to demonstrate their

interest in the case and ensuring that they will vigorously pursue their claims. See Cavin, 236

F.R.D. at 393. This showing is “not difficult.” Ocampo v. GC Servs. Ltd. P’ship, No. 16-CV-

9388, 2018 WL 6198464, at *9 (N.D. Ill. Nov. 28, 2018). Named plaintiffs have a “modest”

burden to demonstrate “[a]n understanding of the basic facts underlying the claims, some general



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knowledge, and a willingness and ability to participate in discovery.” Cavin, 236 F.R.D. at 394.

Even if Plaintiffs in this case would ideally have a better understanding of their role, their actions

reflect that they are adequate class representatives. Plaintiffs have complied with what has been

required of them for several years. They have completed discovery requests, submitted to

multiple depositions, completed interrogatories, and stayed in contact with their counsel. This

indicates that they are intent on pursuing their claims, and that is enough in this case. See Ries v.

Humana Health Plan, Inc., No. 94 C 6180, 1997 WL 158337, at *9 (N.D. Ill. Mar. 31, 1997)

(finding plaintiff who “failed to convey a grasp of the class action process in her deposition” was

nonetheless an adequate representative because “the court [wa]s persuaded that Ms. Ries

possesse[d] a willingness to participate, when necessary, in the lawsuit”).

       Additionally, what constitutes adequate representation will depend on the circumstances

of the specific case. In Eggleston v. Chicago Journeymen Plumbers’ Local Union No. 130, U.A.,

the Seventh Circuit pointed to the Supreme Court’s decision in Surowitz v. Hilton Hotels Corp.,

383 U.S. 363, 370 (1966), where “the named plaintiff did not understand her complaint at all,

could not explain the statements in it, had little knowledge of what the lawsuit was about, did not

know the defendants by name, nor even the nature of the misconduct of the defendants.” 657

F.2d 890, 896 (7th Cir. 1981). The plaintiff in Surowitz, an immigrant from Poland, had relied

on her son-in-law to help her file a class action complaint against a corporation for securities

fraud. The Supreme Court explained that her limited knowledge was not a basis to summarily

dismiss the case:

               The basic purpose of the Federal Rules is to administer justice
               through fair trials, not through summary dismissals as necessary as
               they may be on occasion. These rules were designed in large part
               to get away from some of the old procedural booby traps which
               common-law pleaders could set to prevent unsophisticated litigants
               from ever having their day in court. If rules of procedure work as

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                they should in an honest and fair judicial system, they not only
                permit, but should as nearly as possible guarantee that bona fide
                complaints be carried to an adjudication on the merits. Rule 23(b),
                like the other civil rules, was written to further, not defeat the ends
                of justice.

Surowitz, 383 U.S. at 373. The Seventh Circuit noted that Surowitz was an extreme case but that

it illustrated “the flexibility and broad area for the exercise of the trial court’s common sense and

good judgment” in assessing the adequacy of class representatives. 657 F.2d at 896. Similarly,

the Court is loath to deny class certification in this case because one of the Plaintiffs could not

describe his role as class representative or a now-withdrawn named Plaintiff appeared

uninformed as to case proceedings, particularly when there has already been a complete

substitution of the class representatives and the litigation is now nearing its seventh year. See

Smith v. Adventist Midwest Health, No. 16 C 7606, 2018 WL 948600, at *4 (N.D. Ill. Feb. 20,

2018) (“[A] putative class representative can be adequate without being perfect or the best

representative.”). For these reasons, the Court finds that Green and Zollicoffer are adequate

class representatives.

                2.       Class Counsel

        Under Rule 23(a)(4) and 23(g), the Court must also scrutinize the adequacy of class

counsel. Similar to the class representatives, counsel must show that “they would prosecute the

case in the interest of the class . . . rather than just in their interests as lawyers who if successful

will obtain a share of any judgment or settlement as compensation for their efforts.” Creative

Montessori Learning Ctrs. v. Ashford Gear LLC, 662 F.3d 913, 918 (7th Cir. 2011) (“We and

other courts have often remarked the incentive of class counsel, in complicity with the

defendant’s counsel, to sell out the class by agreeing with the defendant to recommend that the

judge approve a settlement involving a meager recovery for the class but generous compensation



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for the lawyers[.]”). The Court must also scrutinize counsel’s competence. Greisz v. Household

Bank (Illinois), N.A., 176 F.3d 1012, 1013 (7th Cir. 1999) (court must “assess the class lawyer’s

competence”).

        Plaintiffs are currently represented by lead counsel Christopher Williams of the National

Legal Advocacy Network and co-counsel Joseph Sellers, Shaylyn Cochran, and Harini

Srinivasan, of Cohen Milstein Sellers & Toll P.L.L.C. (“Cohen Milstein”). Defendants argue

that class counsel is inadequate, mostly pointing to the conduct of lead counsel Christopher

Williams, including: 1) prior discovery violations; 2) missed deadlines following the Court’s

recommendation of sanctions; 3) alleged lack of candor; and 4) missteps during litigation,

extending to potential ethical violations. 21

        Defendants level serious accusations against Williams, which the Court agrees call into

question Williams’ ability to represent the class. Indeed, the Court has already sanctioned

Williams for discovery lapses. See Docs. 680, 692. Although Judge Kim declined Defendants’

request to disqualify Williams in connection with that sanctions motion and determined that

monetary sanctions should suffice to penalize Williams and deter future discovery failures or

litigation misconduct, he noted that the Court could “weigh Williams’s conduct in discovery as a

factor in evaluating his fitness to serve as class counsel.” Doc. 680 at 29. Despite this warning,

Williams has continued to make missteps in this and related litigation. For example, similar to

his treatment of Sanchez’s phone, one of the issues underlying the imposition of monetary


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  Defendants also argue that Plaintiffs improperly rely on the notebooks that the Court previously barred
from further use in this litigation. Defendants misconstrue the Court’s previous Order. The Court
excluded excerpts from the notebooks that Sanchez disclosed, and specifically advised that, “given the
overlap in documents MVP produced in discovery and documents Sanchez provided to Plaintiffs, the
evidence subject to exclusion should be limited to information and documents not otherwise produced in
discovery.” Doc. 680 at 32. Sanchez disclosed the dispatchers’ practice of keeping notebooks with a list
of laborers to call in her declaration and in her deposition testimony. Defendants also disclosed the
practice in their own disclosures. So, Plaintiffs’ reference to this practice was not improper.

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sanctions, it recently came to light that Williams did not fully review Hunt’s cell phone for

discoverable evidence and instead only produced one video from that phone. Plaintiffs respond

that Defendants did not take any steps to obtain the cell phone, but Plaintiffs had the affirmative

obligation to produce its contents given that, at the time they produced the video, Hunt remained

a named Plaintiff. The Court also notes the potential ethical concerns arising from the loan

agreement Williams entered with Hunt to cover the monetary sanctions Judge Kim imposed on

Hunt personally and Williams’ admitted failure to communicate this arrangement to Zollicoffer

and Green. See Ill. R. Prof’l Conduct 1.8(e) (“A lawyer shall not provide financial assistance to

a client in connection with pending or contemplated litigation, except that:.(1) a lawyer may

advance court costs and expenses of litigation, the repayment of which may be contingent on the

outcome of the matter; and (2) a lawyer representing an indigent client may pay court costs and

expenses of litigation on behalf of the client.”). The Court recognizes that the agreement

between Hunt and Williams specifies that Hunt remains personally liable for the entirety of the

sanction amount, but, given the discrepancy between the ledger presented to the Court, which

reflects that Hunt made two payments toward the sanction, and Hunt’s testimony that he has only

ever made one payment, the Court questions the arrangement and Williams’ forthrightness with

the Court concerning the issue. The Court also does not condone Williams’ behavior in allowing

Hunt to leave his in-progress deposition in the Vee Pak matter and his apparent lack of

communication with Hunt about the status of the case while Hunt remained a named Plaintiff.

Although “[n]ot every ethical breach justifies the grave option of denying class certification,”

Reliable Money Order, Inc. v. McKnight Sales Co., 704 F.3d 489, 498 (7th Cir. 2013), the Court

finds that the ethical concerns surrounding Williams’ arrangement with Hunt and his failure to

disclose this arrangement to the remaining named Plaintiffs, coupled with Williams’ other



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discovery lapses and litigation misconduct over the seven years this case has been pending,

create “serious doubt that counsel will represent the class loyally,” Creative Montessori, 662

F.3d at 918; see also Reliable Money Order, 704 F.3d at 499 (“[U]nethical conduct, not

necessarily prejudicial to the class, nevertheless raises a ‘serious doubt’ about the adequacy of

class counsel when the misconduct jeopardizes the court’s ability to reach a just and proper

outcome in the case.”). Therefore, the Court declines to appoint Williams as class counsel.

        But the Court’s concerns about Williams’ adequacy as class counsel do not extend to his

co-counsel from Cohen Milstein. Although Defendants contend that the Court should consider

counsel collectively, they do not specifically raise concerns about the adequacy of counsel from

Cohen Milstein or explain why the Court should impute Williams’ conduct to his co-counsel.

Given the Court’s experience with this case, the Court does not find it appropriate to do so and

does not have the same concerns about the adequacy of Cohen Milstein to loyally represent the

class as it does with Williams. The Court therefore finds Plaintiffs have met the adequacy of

representation requirement with Cohen Milstein serving as class counsel. 22 The Court expects

counsel from Cohen Milstein to faithfully represent the named Plaintiffs and class members in

accordance with their obligations as class counsel.

        F.       Rule 23(b)(3) Requirements

        Defendants argue that Plaintiffs have not met the requirements for certification under

Rule 23(b)(3), which requires that the “the court find[] that the questions of law or fact common

to class members predominate over any questions affecting only individual members, and that a

class action is superior to other available methods for fairly and efficiently adjudicating the

controversy.” Some of the relevant topics include: 1) whether individual class members have an


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  In supplemental briefing, Plaintiffs also note that their counsel will likely seek to add additional local
counsel in preparation for trial.

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interest in individual control over the litigation, 2) whether there is other litigation concerning

the same controversy, 3) the advantages and disadvantages of assembling claims in one judicial

forum, and 4) problems that might arise in managing the case as a class action. Fed. R. Civ. P.

23(b)(3).

       Defendants argue common questions will not predominate in this case because the trier of

fact will have to consider a litany of individual questions before even reaching questions

regarding the discriminatory hiring policy. Defendants argue these individual questions include

when the laborer sought work at MVP, what shifts they were willing to work, whether GSB

needed employees on those particular days, and whether the laborers even qualified for positions

at GSB. But Defendants fundamentally misunderstand the predominance inquiry. The

predominance requirement demands that the proposed class is “sufficiently cohesive to warrant

adjudication by representation.” Amchem, 521 U.S. at 623. Individual questions need not be

absent. The inquiry simply asks “whether the common, aggregation-enabling, issues in the case

are more prevalent or important than the non-common, aggregation-defeating, individual issues.”

Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. ----, 136 S. Ct. 1036, 1045 (2016) (citation omitted).

Here, Defendants’ list of individualized questions are actually secondary to Plaintiffs’ common

claims. If the trier of fact determines that Defendants had a discriminatory policy against hiring

African Americans—something that Plaintiffs mainly seek to prove through the testimony of

former MVP employees and Dr. Bendick’s analysis—the individualized questions related to

when the laborer sought work at MVP, whether they were qualified, and whether GSB needed

laborers on that particular day, will largely bear on damages. Similar to the defendant in Butler

v. Sears, Roebuck & Co. (“Butler II”), Defendants “think[] that predominance is determined

simply by counting noses: that is, determining whether there are more common issues or more



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individual issues, regardless of relative importance.” 727 F.3d 796, 801 (7th Cir. 2013). “But

predominance requires a qualitative assessment too; it is not bean counting.” Id. None of the

questions that Defendants cite are central to assessing Plaintiffs’ main contention. As the

Seventh Circuit noted in Butler II: “the fact that damages are not identical across all class

members should not preclude class certification. Otherwise defendants would be able to escape

liability for tortious harms of enormous aggregate magnitude but so widely distributed as not to

be remediable in individual suits.” Id. This is one of the central justifications for asserting a

class action for damages: to aggregate small individual claims that would not be justified if each

class member sought to litigate the case by himself. Mace v. Van Ru Credit Corp., 109 F.3d 338,

344 (7th Cir. 1997) (“The policy at the very core of the class action mechanism is to overcome

the problem that small recoveries do not provide the incentive for any individual to bring a solo

action prosecuting his or her rights. A class action solves this problem by aggregating the

relatively paltry potential recoveries into something worth someone’s (usually an attorney’s)

labor.”).

        Defendants next contend that class members likely have an individual interest in

controlling the litigation to avoid the distractions that the named Plaintiffs bring to the case. As

already discussed, the named Plaintiffs are adequate representatives. It is also questionable

whether there are other class members with an appetite to initiate their own lawsuit at this stage

given the cost/benefit analysis and the passage of time. Defendants offer no argument, and the

Court does not think it likely, that a class member’s individual recovery would justify the costs

of litigation. See Amchem, 521 U.S. at 616 (“Th[e] interest [in individual control] can be high

where the stake of each member bulks large and his will and ability to take care of himself are




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strong; the interest may be no more than theoretic where the individual stake is so small as to

make a separate action impracticable.” (citation omitted)).

       Defendants also contend that the class action is unmanageable because it will degenerate

into several individualized trials and because damages are not susceptible to proof on a classwide

basis under Comcast Corp. v. Behrend, 569 U.S. 27 (2013). As already explained, Plaintiffs’

central contentions will predominate in the liability phase of the case, and the Court can conduct

individualized inquiries to determine damages if necessary. Wal-Mart, 564 U.S. at 366–67 (in

cases alleging discriminatory employment practices, courts “must usually conduct additional

proceedings . . . to determine the scope of individual relief” where the burden of proof shifts to

the employer who “will have the right to raise any individual affirmative defenses it may have”

(citing Teamsters, 431 U.S. at 361)). Defendants reliance on Comcast is misplaced. Comcast

dealt with an antitrust suit where damages flowed from the reduced competition in the

marketplace. 569 U.S. at 35. The Supreme Court held that the plaintiffs needed to show that

their methodology for calculating damages on a classwide basis was tied to their theory of

liability. “If the model does not even attempt to do that, it cannot possibly establish that

damages are susceptible of measurement across the entire class for purposes of Rule 23(b)(3).”

Id. Defendants attempt to interpret this to mean that every class action must be susceptible to

proof of damages on a classwide basis—an argument that the Seventh Circuit, and other circuits,

have rejected. See Butler II, 727 F.3d at 801 (“It would drive a stake through the heart of the

class action device, in cases in which damages were sought rather than an injunction or a

declaratory judgment, to require that every member of the class have identical damages.”); In re

Deepwater Horizon, 739 F.3d 790, 815 (5th Cir. 2014) (“[N]othing in Comcast mandates a

formula for classwide measurement of damages in all cases.”).



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        Defendants contend that Plaintiffs’ proposal for a bifurcated trial will violate the Seventh

Amendment reexamination clause. Plaintiffs propose that the first phase of a trial be dedicated

to the question of liability, specifically:

                1) Whether Defendants have engaged in a pattern or practice of
                   discrimination;
                2) Whether Defendants are joint employers and/or MVP is an
                   agent of GSB within the meaning of Section 1981;
                3) Whether Defendants’ conduct meets the standard for an award
                   of punitive damages; and
                4) Whether a four-year limitations period governs Plaintiffs’
                   Section 1981 claim.

Doc. 700 at 57. Plaintiffs propose that damages and any other relief can be determined in a

separate proceeding according to any number of different procedures, including individualized

hearings or the use of a formulaic calculation for damages. Defendants argue that in the case of

a second jury, sworn solely for the purpose of determining damages, the second jury might find

that a class member is not entitled to damages based on his work availability, willingness to do

certain types of work, or a number of other factors. They argue that this would nullify the first

jury’s finding of liability, since these questions are relevant to both determinations. Contrary to

what Defendants contend, the individual questions regarding the date each class member sought

work and whether there were jobs at GSB available on those particular days will largely bear on

the question of damages. Defendants cite to Matter of Rhone-Poulenc Rorer, Inc., where the

Seventh Circuit invalidated the district court’s plan to certify a class action where the first jury

would solely consider the question of negligence for the class and could go on to decide

additional issues only with respect to the named plaintiffs. 51 F.3d 1293, 1297 (7th Cir. 1995).

If it found for the plaintiffs on the question of negligence, “individual members of the class

would then file individual tort suits in state and federal district courts around the nation and

would use the special verdict, in conjunction with the doctrine of collateral estoppel, to block

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relitigation of the issue of negligence.” Id. The subsequent cases would each have needed to

consider questions of comparative negligence and proximate causation—issues that necessarily

overlapped with the first jury’s determination and might have involved findings that contradicted

the first jury’s verdicts for the named plaintiffs. Id. at 1303. The procedure in Rhone-Poulenc is

entirely different from the procedure Plaintiffs propose. As the Rhone-Poulenc court noted, a

reexamination problem “is not inherent in bifurcation.” Id. The caselaw endorsing bifurcated

proceedings for individualized damage assessments should make it clear that Plaintiffs’ proposal

for a separate damages proceeding will not violate the Seventh Amendment because the second

trier of fact would not need to reconsider the central question of liability. See Wal-Mart, 564

U.S. at 366–67; Butler II, 727 F.3d at 801. For these reasons, the Court finds that Plaintiffs have

met the requirements under Rule 23(b)(3).

          G.       Ascertainability

          Lastly, Defendants argue that the class is not ascertainable because it is vague, includes

people who received work assignments to clients other than GSB, and because the proposed

class extends beyond the statute of limitations. A class must be clearly defined according to

objective criteria. Mullins v. Direct Digital, LLC, 795 F.3d 654, 657 (7th Cir. 2015). It cannot

be vague or subjective. Id.

          The court in Vee Pak considered a motion to dismiss involving essentially identical

allegations of racially discriminatory hiring practices through staffing agencies. 23 No. 12-CV-

09672, 2017 WL 6733688, at *4 (N.D. Ill. Dec. 20, 2017). The proposed class in Vee Pak was

defined as “all African Americans who sought a work assignment through [the temporary

staffing agency] and were otherwise eligible to work at Vee Pak but, on one or more occasion,

were not assigned or hired to work [during the class period].” Id. at *2. The court found that the
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     Zollicoffer is a named plaintiff in the case and MVP was one of the defendants.

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term “otherwise eligible” was too vague and eliminated the phrase from the class definition.

Similar to the jobs at GSB, the Vee Pak court reasoned that the term was “essentially

meaningless” because “there were no qualifications for the Vee Pak jobs at issue,” and that “even

if some minimal eligibility requirements did exist, a class member’s eligibility to work at Vee

Pak could be determined at the remedial stage of the litigation.” Id. at *4. The same reasoning

applies to this case because there were essentially no prerequisites necessary to work at GSB,

and minimal differences in qualifications, such as prior experience, can be handled in the second

phase of a trial. Thus, the Court finds that Defendants’ vagueness concerns are remedied by

eliminating the phrases “otherwise eligible” and “otherwise qualified” from the class definition.

       Defendants’ argument regarding laborers who were assigned to different placements has

already been addressed. Defendants’ remaining argument regarding the statute of limitations is a

closer question. Plaintiffs previously asked the Court to amend the class definition in their fifth

amended complaint by expanding the class period from two years to four years, which the Court

allowed while noting that the appropriate limitations period would depend on how MVP

conducted its sign-in procedures. Doc. 320 at 7–8. Plaintiffs’ theory is that signing in at the

Cicero office constituted a contract of employment because it placed laborers within MVP’s pool

of laborers available for assignments. By steering Plaintiffs away from assignments at GSB,

Plaintiffs contend that Defendants interfered with an established contractual relationship and not

just the potential formation of a contract with GSB. Failure-to-hire claims, which implicate the

formation of a contract, borrow the applicable statute of limitations from state law, which in this

case is two years. See Rainey v. United Parcel Serv., Inc., 543 F. App’x 606, 608 (7th Cir. 2013)

(“Rainey alleges that unlawful discrimination prevented the making of an employment contract,

and for claims of discrimination in hiring arising in Illinois, a two-year statute of limitations



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governs.”). If Plaintiffs’ theory is correct, however, their claims would carry a four-year statute

of limitations under 28 U.S.C. § 1658(a). Id. (four-year statute of limitations for § 1981 claims

“applies only to claims based on conduct occurring after the formation of an employment

contract”).

        Plaintiffs and Defendants offer little argument on this issue, and there is no controlling

caselaw on the topic. Cf. Hunt v. Pers. Staffing Grp., LLC, No. 16-CV-11086, 2018 WL

1014513, at *7 (N.D. Ill. Feb. 22, 2018) (determining whether temporary laborers entered into a

contract with MVP by signing in and requesting work assignments is a fact-intensive inquiry that

cannot be resolved on a motion to dismiss); Pruitt v. Pers. Staffing Grp., LLC, No. 16 C 5079,

2017 WL 1128457, at *2 (N.D. Ill. Mar. 23, 2017) (same). Plaintiffs assure the Court that this

issue can be decided by the trier of fact during the liability phase of the trial. But deciding which

statute of limitations applies is a question of law central to class certification. See Phillips v.

Asset Acceptance, LLC, 736 F.3d 1076, 1081 (7th Cir. 2013) (statute of limitations is a question

of law that implicates composition of class and whether it is appropriate to maintain the suit as a

class action). The Court directs the parties to submit additional briefing, limited to no more than

ten pages each, on the question of whether MVP formed a contract with job seekers who signed

in and filled out an application for work assignments at the Cicero office. In particular, it would

be helpful for the Court to review a copy of the application form that job seekers were required

to complete. Because this question will determine the scope of the class, the Court reserves

adopting a final class definition pending resolution of this issue.

                                           CONCLUSION

        For the foregoing reasons, the Court grants Plaintiffs’ motion for class certification [699].

The Court appoints James Zollicoffer and Norman Green as class representatives and Joseph M.



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Sellers, Shaylyn Cochran, and Harini Srinivasan of Cohen Milstein Sellers & Toll P.L.L.C. as

class counsel. The Court reserves defining the class pending additional briefing by the parties.

The parties should follow this briefing schedule: Plaintiff’s brief is due by May 4, 2020 and

Defendants’ brief is due by June 1, 2020. The Court sets a status date of July 8, 2020, where the

Court will provide a ruling defining the class.




Dated: March 31, 2020
                                                            SARA L. ELLIS
                                                            United States District Judge




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